 Fill in this information to identify the case:

 Debtor name         Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)         1-20-10903-CLB
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                         $47,252,569.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                       $168,558,094.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                       $191,264,283.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                   Grants, Not Patient Related
       From 1/01/2020 to Filing Date                                                           Income                                          $3,569,245.00


       For prior year:                                                                         Grants, Not Patient Related
       From 1/01/2019 to 12/31/2019                                                            Income                                          $6,514,991.00


       For year before that:                                                                   Grants, Not Patient Related
       From 1/01/2018 to 12/31/2018                                                            Income                                          $4,142,161.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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 Debtor       Eastern Niagara Hospital, Inc.                                                            Case number (if known) 1-20-10903-CLB




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached Exhibit A                                                                              $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    RAC                                               12/20/2018 - DRG           CMS - Region 1                             Pending
               N/A                                               Coding Violation           John F. Kennedy Federal                    On appeal
                                                                 Result:                    Building                                     Concluded
                                                                 Closed/No                  15 New Sudbury Street,
                                                                 Findings                   Rooom 2325
                                                                                            Boston, MA 02203-0003


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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.2.    RAC                                               2/13/2019 - DRG           CMS - Region 1                       Pending
               N/A                                               Coding Violation          John F. Kennedy Federal              On appeal
                                                                 Result:                   Building                               Concluded
                                                                 Closed/No                 15 New Sudbury Street,
                                                                 Findings                  Rooom 2325
                                                                                           Boston, MA 02203-0003

       7.3.    RAC                                               4/26/2019 - DRG           CMS - Region 1                       Pending
               N/A                                               Coding Violation          John F. Kennedy Federal              On appeal
                                                                 Result:                   Building                               Concluded
                                                                 Closed/No                 15 New Sudbury Street,
                                                                 Findings                  Suite 2325
                                                                                           Boston, MA 02203-0003

       7.4.    RAC                                               6/26/2019 - DRG           CMS - Region 1                       Pending
               N/A                                               Coding Violation          John F. Kennedy Federal              On appeal
                                                                 Result: DRG               Building                               Concluded
                                                                 Change                    15 New Sudbury Street,
                                                                                           Room 2325
                                                                                           Boston, MA 02203-0003

       7.5.    RAC                                               8/23/2019 - DRG           CMS - Region 1                       Pending
               N/A                                               Coding Violation          John F. Kennedy Federal              On appeal
                                                                 Result:                   Building                               Concluded
                                                                 Closed/No                 15 New Sudbury Street,
                                                                 Findings                  Room 2325
                                                                                           Boston, MA 02203-0003

       7.6.                                                      7/1/2019 - 2016           New York State Department            Pending
               N/A                                               Medicaid                  of Health                            On appeal
                                                                 Institutional Cost        Empire State Plaza, Corning            Concluded
                                                                 Report (ICR) Audit        Tower
                                                                                           State Street
                                                                                           Albany, NY 12203

       7.7.                                                      7/31/2019 - 2017          New York State Department              Pending
               N/A                                               Medicaid                  of Health                            On appeal
                                                                 Institutional Cost        Empire Plaza, Corning
                                                                                                                                Concluded
                                                                 Report (ACR)              Tower
                                                                 Audit                     State Street
                                                                                           Albany, NY 12203

       7.8.                                                      9/3/2019 - 2017           CMS - Region 1                       Pending
               N/A                                               Wage Index Audit          John F. Kennedy Federal              On appeal
                                                                                           Building                               Concluded
                                                                                           15 New Sudbury Street,
                                                                                           Room 2325
                                                                                           Boston, MA 02203-0003

       7.9.                                                      9/13/2019 - 2016          New York State Department              Pending
               N/A                                               Disproprortionate         of Health                            On appeal
                                                                 Share Hospital            Empire Plaza, Corning
                                                                                                                                Concluded
                                                                 (DSH)                     Tower
                                                                                           State Street
                                                                                           Albany, NY 12203




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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.10                                                      7/17/2019 - IPRO          IPRO                                 Pending
       .    N/A                                                  Patient Diagnosis         1979 Marcus Avenue                   On appeal
                                                                 and Treatment             Lake Success, NY                       Concluded
                                                                                           11042-1072

       7.11 Danny Lee Neal v. Eastern                            Medical                   Erie County Supreme Court              Pending
       .    Niagara Hospital, Inc.                               Malpractice                                                    On appeal
               Claim No. 30711586
                                                                                                                                Concluded

       7.12 Judith A. Rowh v. Eastern                            Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30805371
                                                                                                                                Concluded

       7.13 Kylec Eliott King v. Eastern                         Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30809448
                                                                                                                                Concluded

       7.14 Stacie S. Combs v. Eastern                           Medial                    Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30917243
                                                                                                                                Concluded

       7.15 Lee Paul Rosselli v. Eastern                         Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30822002
                                                                                                                                Concluded

       7.16 Thomas J. Kausner v. Eastern                         Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30842563
                                                                                                                                Concluded

       7.17 George Ziemendorf v. Eastern                         Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30847125
                                                                                                                                Concluded

       7.18 Muriel E. Houghton v. Eastern                        Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30848058
                                                                                                                                Concluded

       7.19 Richard A. Jepson v. Eastern                         General Liability         Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30848404
                                                                                                                                Concluded

       7.20 Susan A. Westgate v. Eastern                         Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30857728
                                                                                                                                Concluded

       7.21 Betty Doxey v. Eastern                               Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30873071
                                                                                                                                Concluded




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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.22 Linda Frances Vincent v.                             Medical                   Niagara County Supreme                 Pending
       .    Eastern Niagara Hospital, Inc.                       Malpractice               Court                                On appeal
               Claim No. 30880894
                                                                                                                                Concluded

       7.23 Anna Capen v. Eastern                                Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30881983
                                                                                                                                Concluded

       7.24 Thomas Ackroyd v. Eastern                            Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30893756
                                                                                                                                Concluded

       7.25 George A. Caraco, Jr. v.                             Medical                   Niagara County Supreme                 Pending
       .    Eastern Niagara Hospital                             Malpractice               Court                                On appeal
               Claim No. 30901773
                                                                                                                                Concluded

       7.26 Suzanne Klein v. Eastern                             Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30915138
                                                                                                                                Concluded

       7.27 Jeffrey Saraf v. Eastern                             Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30918124
                                                                                                                                Concluded

       7.28 Gary Neu v. Eastern Niagara                          Medical                   Niagara County Supreme                 Pending
       .    Hospital, Inc.                                       Malpractice               Court                                On appeal
               Claim No. 30920103
                                                                                                                                Concluded

       7.29 Krystal Irrobali v. Eastern                          Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30920301
                                                                                                                                Concluded

       7.30 David August Bambino v.                              Medical                   U.S. District Court, WDNY              Pending
       .    Eastern Niagara Hospital, Inc.                       Malpractice                                                    On appeal
               Claim No. 30921937
                                                                                                                                Concluded

       7.31 Kathleen H. Algoe v. Eastern                         Medical                   Erie County Supreme Court              Pending
       .    Niagara Hospital, Inc.                               Malpractice                                                    On appeal
               Claim No. 30922125
                                                                                                                                Concluded

       7.32 Giacomo Dipippo v. Eastern                           Medical                   Erie County Supreme Court              Pending
       .    Niagara Hospital, Inc.                               Malpractice                                                    On appeal
               Claim No. 30925913
                                                                                                                                Concluded

       7.33 Patrick Zadul v. Eastern                             Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30927323
                                                                                                                                Concluded

       7.34 Alice M. Enderby v. Eastern                          Medical                   Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30928678
                                                                                                                                Concluded

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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.35 Donald Williamson, Jr. v.                            Property Liability        Niagara County Supreme                 Pending
       .    Eastern Niagara Hospital, Inc.                       Action                    Court                                On appeal
               Claim No. 30933148
                                                                                                                                Concluded

       7.36 Victor Fetter v. Eastern                             Property Liability        Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30933156
                                                                                                                                Concluded

       7.37 Eric Gajewski v. Eastern                             Property Liability        Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30933180
                                                                                                                                Concluded

       7.38 Angela Marillo v. Eastern                            Property Liability        Niagara County Supreme                 Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30933198
                                                                                                                                Concluded

       7.39 Gary Avins v. Eastern Niagara                        Medical                   Erie County Supreme Court              Pending
       .    Hospital, Inc.                                       Malpractice                                                    On appeal
               Claim No. 30935615
                                                                                                                                Concluded

       7.40 James Kingsley v. Eastern                            Medical                   Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30553821                                                                                                 Concluded


       7.41 Eric Smith v. Eastern Niagara                        Medical                   Niagara County Supreme               Pending
       .    Hospital, Inc.                                       Malpractice               Court                                On appeal
               Claim No. 30621876                                                                                                 Concluded


       7.42 Barbara Gonzalez v. Eastern                          Medical                   Niagara County Supreme               Pending
       .    Niagara Hospital                                     Malpractice               Court                                On appeal
               Claim No. 30630041                                                                                                 Concluded


       7.43 Robin Montana v. Eastern                             Medical                   Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30643193                                                                                                 Concluded


       7.44 Cynthia Russell v. Eastern                           General Liability         Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30739223                                                                                                 Concluded


       7.45 James Truscio v. Eastern                             Medical                   Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30741195                                                                                                 Concluded


       7.46 Marianna Pellicano v. Eastern                        General Liability         Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Action                    Court                                On appeal
               Claim No. 30763090                                                                                                 Concluded


       7.47 Rena Rohring v. Eastern                              Medical                   Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Malpractice               Court                                On appeal
               Claim No. 30797619                                                                                                 Concluded

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               Case title                                        Nature of case               Court or agency's name and          Status of case
               Case number                                                                    address
       7.48 Shirley Burrows v. Eastern                           Medical                      Erie County Supreme Court            Pending
       .    Niagara Hospital, Inc.                               Malpractice                                                       On appeal
               Claim No. 30805587                                                                                                     Concluded


       7.49 Alaina Mancini v. Eastern                            Medical                      Niagara County Supreme               Pending
       .    Niagara Hospital, Inc.                               Malpractice                  Court                                On appeal
               Claim No. 30894697                                                                                                     Concluded


       7.50 Trane US, Inc. v. Eastern                            Mechanic's Lien                                                   Pending
       .    Niagara Hospital, Inc.                               for $57,150.80                                                    On appeal
                                                                 filed on 11/15/2019                                               Concluded
                                                                 in the Niagara
                                                                 County Clerk's
                                                                 Office

       7.51 Samantha Donatello v.                                Medical                      Niagara County Supreme                  Pending
       .    Eastern Niagara Hospital, Inc.                       Malpractice and              Court                                On appeal
               and Timothy Laubacker                             D&O
                                                                                                                                   Concluded
               E163921/2018

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.



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                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.                                                                                                                   5/6/2019
                                                                                                                               $30,000;
                                                                                                                               5/13/2019
                                                                                                                               $7,500;
                                                                                                                               5/28/2019
                                                                                                                               $42,904.66;
                                                                                                                               6/3/2019
                                                                                                                               $42,883.00;
                                                                                                                               6/11/2019
                                                                                                                               $42,968.00;
                                                                                                                               7/29/2019
                                                                                                                               $43,217.68;
                                                                                                                               8/13/2019
                                                                                                                               $44,714.88;
                                                                                                                               8/13/2019
                                                                                                                               $44,749.20;
                                                                                                                               8/13/2019
                                                                                                                               $43,032.52;
                                                                                                                               8/21/2019
                                                                                                                               $42,973.00,
                                                                                                                               and
                 Freedmaxick CPAs PC                                                                                           11/6/2019-7/
                 424 Main Street, Suite 800                                                                                    7/2020
                 Buffalo, NY 14202                                                                                             $363,180.84         $748,123.77

                 Email or website address
                 www.freedmaxick.com

                 Who made the payment, if not debtor?




       11.2.                                                                                                                   4/1/2019-11/
                                                                                                                               6/2019
                                                                                                                               $62,357.50,
                                                                                                                               11/7/2019
                                                                                                                               $129,605.00,
                                                                                                                               6/17/2020
                                                                                                                               $88,207.00,
                                                                                                                               6/302020
                 Barclay Damon LLP                                                                                             $183,918.70,
                 Barclay Damon Tower                                                                                           and
                 125 East Jefferson Street                                                                                     7/7/2020
                 Syracuse, NY 13202                                                                                            $50,000.00          $514,088.20

                 Email or website address
                 www.barclaydamon.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

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13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

       No. Go to Part 9.
           Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
       15.1.     Eastern Niagara Hospital                        Medical, Surgical, Psychiatric, Diagnositc, Chemical                    50
                 521 East Avenue                                 Dependency
                 Lockport, NY 14094
                                                                 Location where patient records are maintained (if different from        How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Personal, Financial, Medical
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
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                 Case 1-20-10903-MJK, Doc 80-1, Filed 07/23/20, Entered 07/23/20 08:44:17,
                             Description: Statement of Financial Affairs, Page 9 of 45
 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB



                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. 403(b) Retirement Plan (Plan                                EIN: XX-XXXXXXX
                    #004)

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. Fringe and Welfare Benefit Plan                             EIN: XX-XXXXXXX
                    (Plan #502)

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital Union Pension Plan (Plan #002)                                    EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. Defined Benefit Pension Plan                                EIN: XX-XXXXXXX
                    (Plan #001)

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    1999 SEIU Regional Pension Fund (Plan #001) 1999 SEIU                                      EIN: XX-XXXXXXX
                    MultiEmployer Plan

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. (Plan #002) VALIC Group #08012                              EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. (Plan 1284) Lincoln Group                                   EIN: XX-XXXXXXX
                    #892718+006
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 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB




                    Has the plan been terminated?
                     No
                     Yes

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Eastern Niagara Hospital, Inc. - MetLife Group #0836900                                    EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
                                                                     Address
       Northwest Bank                                                .                                    Unknown                                No
       55 East Avenue                                                                                                                            Yes
       Lockport, NY 14094


20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
       Conjerti Moving Company                                       .                                    Medical Records                        No
       4536 Kayner Road                                                                                                                          Yes
       Gasport, NY 14067



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
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 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB




 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Provides administrative services                 EIN:
             Eastern Niagara Services                                                                                       XX-XXXXXXX
             Organization, L                                  to the Niagara Regional Surgery
             521 East Avenue                                  Center to include scheduling,                    From-To      1/6/2015 to Present
             Lockport, NY 14094                               board oversight, financial
                                                              management, and periodic
                                                              consulting services.
    25.2.                                                     Holding company for 5875 South                   EIN:
             Eastern Niagara Properties,                                                                                    XX-XXXXXXX
             LLC                                              Transit Road property that is
             521 East Avenue                                  leased to Eastern Niagara                        From-To      4/4/2011 to Present
             Lockport, NY 14094                               Hospital, Inc.




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 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.3.                                                     Onwed by Dr. Donald Slate                        EIN:
             Medical Practice of Niagara,                                                                                   XX-XXXXXXX
             P.C.
             521 East Avenue                                                                                   From-To      4/14/2016 to Present
             Lockport, NY 14094


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       David Henry, Director of Finance
                    Eastern Niagara Hospital, Inc.
                    521 East Avenue
                    Lockport, NY 14094

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Lumsden & McCormick, LLP                                                                                                   1999 to Present
                    Cyclorama Building
                    369 Franklin Street
                    Buffalo, NY 14202

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None
       Name and address
       26d.1.  RBS Citizens, N.A.
                    250 South Clinton Street
                    Syracuse, NY 13202

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.




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 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB



               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Victoria Naeger, Staff Account
       .                                                                                     12/2019                 1,370,970.00

               Name and address of the person who has possession of
               inventory records
               Eastern Niagara Hospital, Inc.
               521 East Avenue
               Lockport, NY 14094


       27.2 Victoria Naeger, Staff Accountant
       .                                                                                     12/2018                 1,482,152

               Name and address of the person who has possession of
               inventory records
               Eastern Niagara Hospital, Inc.
               521 East Avenue
               Lockport, NY 14094


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Christopher E. Beney, M.D.                     444 Willow Street                                   Member of the Board of
                                                      Lockport, NY 14094                                  Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James E. Ferington, DDS                        549 Willow Street                                   Member of the Board of
                                                      Lockport, NY 14094                                  Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David E. Godfrey                               4821 Lake Road                                      Member of the Board of
                                                      Burt, NY 14028                                      Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Martin R. Horanburg                            6137 Prospect Street                                Member of the Board of
                                                      Newfane, NY 14108                                   Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Anne E. McCaffrey                              556 Willow Street                                   Director, President, and Chief
                                                      Lockport, NY 14094                                  Executive Officer

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ann Briody-Petock                              6423 O'Connor Drive                                 Chairman of the Board of
                                                      Lockport, NY 14094                                  Directors
                                                                                                          9/26/2017 to Present
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Steven Sinclair                                22 Rydalmount Road                                  Member of the Board of
                                                      Lockport, NY 14094                                  Directors
                                                                                                          9/25/2018 to Present




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 Debtor      Eastern Niagara Hospital, Inc.                                                             Case number (if known) 1-20-10903-CLB



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       D. Michael Slate, M.D.                         136 McKinley Avenue                                 Member of the Board of
                                                      Buffalo, NY 14217                                   Directors and Medical
                                                                                                          Director
                                                                                                          2/21/2019 to Present
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jennifer Stoll                                 16 Kingston Circle                                  Member of the Board of
                                                      Lockport, NY 14094                                  Directors and Secretary
                                                                                                          9/26/2017 to Present
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Margaret Thompson                              4863 East Lake Road                                 Member of the Board of
                                                      Burt, NY 14028                                      Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Janice E. Errick, M.D.                         346 East River Road                                 Member of the Board of
                                                      Grand Island, NY 14072                              Directors

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Suresh Sofat                                   90 North Woodside Lane                              Chief of Staff
                                                      Buffalo, NY 14221

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Scott Schrader                                                                                     Assistant Administrator for
                                                                                                          Planning

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Marilyn Militello                                                                                  Senior Director of Nursing


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David Henry                                                                                        Director of Finance


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Laurie Haight                                                                                      Quality Assurance Director


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Patricia Uldrich                                                                                   Assistant Administrator for
                                                                                                          Quaility Assurance

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Carolyn A. Moore                                                                                   Director of Community
                                                                                                          Relations

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph Giansante                                                                                   Human Resources Director




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 Debtor       Eastern Niagara Hospital, Inc.                                                            Case number (if known) 1-20-10903-CLB



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Rocco Surace                                   6384 O'Connor Drive                                 Chairman of the Board           10/2012 to 10/2019
                                                      Lockport, NY 14094                                  of Directors

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                          was held
       Autumn Badillo                                                                                     Human ResourcesWR
                                                                                                          Director

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                          was held
       David J. DiBacco                                                                                   Chief Operating OfficerWR


       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                          was held
       Jessica Landers                                                                                    Corporate ComplianceWR
                                                                                                          Director


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1                                                                                                                               Independent
       .                                                                                                                                  Contractor that
                                                                                                                                          provides child
                                                                                                                                          psychological
                                                                                                                                          physicals.
               Christopher Beney, M.D.                                                                                                    Relationship ends
                                                                 $693.00/week                                                             in 12/2019.

               Relationship to debtor



       30.2 Dr. Donald Slate
       .                                                         $125/hour, year to date paid $14,906.25                                  Medical Director

               Relationship to debtor
               Medical Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.

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In Re: Eastern Niagara Hospital, Inc.     Statement of Financial Affairs                                      1 of 28
Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2105        $         172.55    4102020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2106        $         524.00    4102020     PEPSI-COLA
        4011257221          2107        $         369.37    4102020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2108        $          74.98    4102020     ANESTHESIA EQUIPMENT SUPPLY
        4011257221          2109        $         511.61    4102020     APPLIED MEDICAL TECHNOLOGIES
        4011257221          2110        $          95.00    4102020     ARMSTRONG MEDICAL IND. INC
        4011257221          2111        $       3,486.00    4102020     ARTHREX INC
        4011257221          2112        $       2,069.36    4102020     BAXTER HEALTHCARE CORP
        4011257221          2113        $          70.36    4102020     BIO-RAD LABORATORIES
        4011257221          2114        $      19,746.60    4102020     BLUE CROSS BLUE SHIELD WNY
        4011257221          2115        $       9,835.73    4102020     BLUE CROSS BLUE SHIELD WNY
        4011257221          2116        $       1,991.26    4102020     BOSTON SCIENTIFIC CORPORATION
        4011257221          2117        $      16,234.11    4102020     CARDINAL HEALTH
        4011257221          2118        $            -      4102020     NULL
        4011257221          2119        $      25,122.48    4102020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2120        $            -      4102020     NULL
        4011257221          2121        $            -      4102020     NULL
        4011257221          2122        $            -      4102020     NULL
        4011257221          2123        $       1,036.00    4102020     CIGNA LIFE INSURANCE
        4011257221          2124        $       2,727.52    4102020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2125        $          19.98    4102020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2126        $       4,774.00    4102020     CONNECT LIFE
        4011257221          2127        $       3,023.95    4102020     CRS NUCLEAR SERVICES LLC
        4011257221          2128        $      11,883.49    4102020     DIRECT ENERGY BUSINESS
        4011257221          2129        $       1,082.00    4102020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2130        $      18,617.81    4102020     EASTERN NIAGARA SVCS ORGANIZATION
        4011257221          2131        $       2,516.11    4102020     EATON OFFICE SUPPLY
        4011257221          2132        $            -      4102020     NULL
        4011257221          2133        $         629.16    4102020     GETINGE USA SALES LLC
        4011257221          2134        $      14,653.00    4102020     HEALTH FACILITY ASSESSMENT FUND
        4011257221          2135        $       1,034.51    4102020     HEALTH WEAR OF WNY
        4011257221          2136        $       4,400.00    4102020     HOOT LLC
        4011257221          2137        $       5,405.40    4102020     IBM CORPORATION
        4011257221          2138        $    306,815.96     4102020     INDEPENDENT HEALTH ASSOCIATION
        4011257221          2139        $       6,425.00    4102020     INTUITIVE SURGICAL INC
        4011257221          2140        $         524.33    4102020     JOHNSTON PAPER CO INC
        4011257221          2141        $      10,933.48    4102020     LINCOLN LIFE ANNUITY CO OF NEW YORK
        4011257221          2142        $       9,864.05    4102020     LINCOLN LIFE ANNUITY CO OF NEW YORK
        4011257221          2143        $          52.56    4102020     LINDE GAS NORTH AMERICA
        4011257221          2144        $       1,436.95    4102020     MESSER LLC
        4011257221          2145        $         305.79    4102020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2146        $         218.34    4102020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2147        $         765.95    4102020     MONTONDO'S SEAFOOD INC
        4011257221          2148        $       1,230.00    4102020     NUANCE COMMUNICATIONS
        4011257221          2149        $       6,773.88    4102020     NYSEG
        4011257221          2150        $         411.72    4102020     OLYMPUS AMERICA INC
        4011257221          2151        $          19.75    4102020     POVINELLI CUTLERY
        4011257221          2152        $         389.80    4102020     PRECISION DYNAMICS CORP
        4011257221          2153        $         170.00    4102020     PRO-FLEX ADMINISTRATORS LLC
        4011257221          2154        $         130.00    4102020     PLUMERI,JERI
        4011257221          2155        $         240.74    4102020     GRIMM,JANET E
        4011257221          2156        $         123.00    4102020     HAMILTON,ALAN MAYER
        4011257221          2157        $          30.00    4102020     DAUGHERTY,JUDITH A
        4011257221          2158        $          29.10    4102020     STAHL,WILLIAM L


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2159        $           5.27    4102020     SCHURR,CANDICE A
        4011257221          2160        $          30.66    4102020     JERLA,RICHARD E
        4011257221          2161        $          20.27    4102020     PEET,LINDA M
        4011257221          2162        $         429.00    4102020     SAFEGUARD BUSINESS SYSTEMS
        4011257221          2163        $          39.44    4102020     SPALDING HARDWARE
        4011257221          2164        $         668.80    4102020     SPARTAN TOOL, LLC
        4011257221          2165        $       1,131.34    4102020     STERIS CORPORATION
        4011257221          2166        $         489.10    4102020     STRYKER SALES CORP
        4011257221          2167        $      23,724.54    4102020     TRAVELERS
        4011257221          2168        $         368.91    4102020     UNIFIRST CORPORATION
        4011257221          2169        $          53.79    4102020     UNITED PARCEL SERVICE
        4011257221          2170        $         107.54    4102020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          2171        $       9,028.23    4102020     US FOODSERVICE
        4011257221          2172        $         312.87    4102020     VERIZON
        4011257221          2173        $       7,756.20    4102020     X-CELL LABORATORIES OF WNY INC
        4011257221          2174        $         437.27    4102020     ZOLL MEDICAL CORPORATION
        4011257221          2175        $       5,400.00    4102020     PAL MD,AMANDEEP
        4011257221          2176        $       1,630.81    4152020     1199 SEIU DUES
        4011257221          2177        $          24.02    4152020     1199 SEIU POLITICAL ACTION FUND
        4011257221          2178        $       1,173.34    4152020     AFLAC OF NEW YORK
        4011257221          2179        $          89.22    4152020     AMALGAMATED LOCAL 55 UAW
        4011257221          2180        $       1,976.40    4152020     C.S.E.A. INC
        4011257221          2181        $          18.47    4152020     COAST PROFESSIONAL INC
        4011257221          2182        $         414.78    4152020     DIVERSIFIED INVESTMENT
        4011257221          2183        $         120.00    4152020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2184        $       2,025.72    4152020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2185        $           5.00    4152020     EASTERN NIAGARA UNITED WAY
        4011257221          2186        $       4,440.00    4152020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          2187        $       1,320.00    4152020     JEHRIO MD PC, GREGORY T
        4011257221          2188        $       1,100.00    4152020     JOHNSON MD,ERIC
        4011257221          2189        $      13,080.00    4152020     KHALIL MD,SALMA
        4011257221          2190        $       1,560.00    4152020     KHAWAR MD, M. KHALID
        4011257221          2191        $       4,321.21    4152020     LINCOLN LIFE ANNUITY CO NY
        4011257221          2192        $       6,000.00    4152020     MAJEED,MIAN MD
        4011257221          2193        $          51.10    4152020     MASSMUTUAL
        4011257221          2194        $         348.61    4152020     METLIFE
        4011257221          2195        $       2,803.70    4152020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          2196        $       1,236.93    4152020     NEW YORK STATE PROCESSING CENTER
        4011257221          2197        $         456.16    4152020     NIAGARA CO SHERIFF DEPT.
        4011257221          2198        $         457.82    4152020     NYS ASSESSMENT RECEIVABLES
        4011257221          2199        $         139.91    4152020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          2200        $       1,800.00    4152020     PAL MD,AMANDEEP
        4011257221          2201        $         152.69    4152020     PEARL CARROLL
        4011257221          2202        $         350.77    4152020     PHILIPPI,JULIE
        4011257221          2203        $          50.00    4152020     HARRINGTON,DANIEL
        4011257221          2204        $         100.00    4152020     SCOTT,JAMIE
        4011257221          2205        $      10,200.00    4152020     RODRIGUEZ,JAIME MD
        4011257221          2206        $       5,060.00    4152020     SAHAF MD,ASHRAF
        4011257221          2207        $       6,000.00    4152020     SIDDIQUI MD, ABRAR
        4011257221          2208        $          66.72    4152020     THE SECURITY GROUP NY
        4011257221          2209        $         318.80    4152020     US DEPARTMENT OF EDUCATION AWG
        4011257221          2210        $       2,495.00    4152020     VARIABLE ANNUITY LIFE INS
        4011257221          2211        $       1,338.00    4152020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          2212        $         290.85    4172020     LATINA BOULEVARD FOODS, LLC.


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                 Payee Name
        4011257221          2213        $         464.70    4172020     PEPSI-COLA
        4011257221          2214        $         524.09    4172020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2215        $       6,141.00    4172020     ABILITY NETWORK INC
        4011257221          2216        $         142.00    4172020     ALCOPRO INC
        4011257221          2217        $         308.00    4172020     ALLOSOURCE
        4011257221          2218        $       2,180.00    4172020     APPLICANTPRO
        4011257221          2219        $       1,500.00    4172020     APPLIED MEDICAL
        4011257221          2220        $       2,400.00    4172020     ARMORED ACCESS INC
        4011257221          2221        $       4,495.00    4172020     ARTHREX INC
        4011257221          2222        $       3,163.53    4172020     BAXTER HEALTHCARE CORP
        4011257221          2223        $         270.57    4172020     BIO-RAD LABORATORIES
        4011257221          2224        $         235.00    4172020     BIOSERV
        4011257221          2225        $       4,079.29    4172020     BOSTON SCIENTIFIC CORPORATION
        4011257221          2226        $      30,195.68    4172020     CARDINAL HEALTH
        4011257221          2227        $            -      4172020     NULL
        4011257221          2228        $            -      4172020     NULL
        4011257221          2229        $      27,966.10    4172020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2230        $            -      4172020     NULL
        4011257221          2231        $            -      4172020     NULL
        4011257221          2232        $            -      4172020     NULL
        4011257221          2233        $       1,828.53    4172020     CHEM-AQUA
        4011257221          2234        $       2,335.00    4172020     CICERO CONSULTING ASSOCIATES
        4011257221          2235        $          11.84    4172020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2236        $         566.80    4172020     CONMED CORPORATION
        4011257221          2237        $       5,047.00    4172020     CONNECT LIFE
        4011257221          2238        $       3,192.10    4172020     CRS NUCLEAR SERVICES LLC
        4011257221          2239        $       4,000.00    4172020     EASTERN NIAGARA MEDICAL GROUP PC
        4011257221          2240        $          10.00    4172020     EASTERN NIAGARA RADIOLOGY ASSOCIATE
        4011257221          2241        $         505.05    4172020     EATON OFFICE SUPPLY
        4011257221          2242        $         486.78    4172020     ECOLAB INSTITUTIONAL
        4011257221          2243        $       1,385.77    4172020     EM CAHILL COMPANY INC
        4011257221          2244        $         140.71    4172020     FISHER HEALTHCARE
        4011257221          2245        $       2,000.00    4172020     FLEX OPERATING ROOM LLC
        4011257221          2246        $       1,051.30    4172020     HEALTH WEAR OF WNY
        4011257221          2247        $         629.20    4172020     INTERFACE PEOPLE
        4011257221          2248        $       1,406.00    4172020     LASER SOLUTIONS INC
        4011257221          2249        $       2,140.95    4172020     LIFENET HEALTH
        4011257221          2250        $         237.16    4172020     LINDE GAS NORTH AMERICA
        4011257221          2251        $       8,950.00    4172020     LOPEZ MD PC,OSCAR S
        4011257221          2252        $         186.39    4172020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          2253        $          91.24    4172020     MEDTRONIC
        4011257221          2254        $         113.84    4172020     METLIFE
        4011257221          2255        $         236.00    4172020     METRODATA INC
        4011257221          2256        $         187.50    4172020     MICRO-AIRE
        4011257221          2257        $         188.79    4172020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2258        $       5,538.24    4172020     MINDRAY CAPITAL
        4011257221          2259        $         273.56    4172020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2260        $         306.06    4172020     MONTONDO'S SEAFOOD INC
        4011257221          2261        $       1,476.00    4172020     NUANCE COMMUNICATIONS
        4011257221          2262        $         105.33    4172020     NYSEG
        4011257221          2263        $         150.98    4172020     PARTSSOURCE
        4011257221          2264        $         350.00    4172020     PRO BENEFITS ADMINISTRATORS
        4011257221          2265        $         285.00    4172020     PROFESSIONAL COMMUNICATIONS
        4011257221          2266        $       5,091.25    4172020     REL COMM INC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                 Payee Name
        4011257221          2267        $       1,332.98    4172020     RELIAS LLC
        4011257221          2268        $         101.00    4172020     SCHILLER AMERICAS
        4011257221          2269        $       5,433.56    4172020     SIEMENS FINANCIAL SERVICES INC
        4011257221          2270        $         469.17    4172020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          2271        $       2,184.58    4172020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          2272        $          38.72    4172020     SPALDING HARDWARE
        4011257221          2273        $      17,789.25    4172020     STERIS CORPORATION
        4011257221          2274        $       3,898.25    4172020     SUMMIT PRINT & MAIL LLC
        4011257221          2275        $          39.00    4172020     TELEFLEX FUNDING LLC
        4011257221          2276        $         247.00    4172020     TIMKEY ENTERPRISES INC
        4011257221          2277        $         247.59    4172020     UNIFIRST CORPORATION
        4011257221          2278        $       8,526.50    4172020     US FOODSERVICE
        4011257221          2279        $         229.00    4172020     VERATHON INC
        4011257221          2280        $       1,466.64    4172020     WERFEN USA LLC
        4011257221          2281        $         256.80    4172020     WINDSTREAM
        4011257221          2282        $         211.00    4172020     ARMSTRONG MEDICAL IND. INC
        4011257221          2283        $    114,454.00     4222020     US TRUSTEE PAYMENT CENTER
        4011257221          2284        $         186.05    4242020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2285        $         562.98    4242020     PEPSI-COLA
        4011257221          2286        $         438.80    4242020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2287        $         308.00    4242020     ALLOSOURCE
        4011257221          2288        $       4,130.00    4242020     ARTHREX INC
        4011257221          2289        $         143.51    4242020     AT&T TELECONFERENCE SERVICES
        4011257221          2290        $          92.08    4242020     AVANOS MEDICAL INC
        4011257221          2291        $       1,548.01    4242020     BAXTER HEALTHCARE CORP
        4011257221          2292        $       2,436.00    4242020     BENISTAR-6811
        4011257221          2293        $         135.00    4242020     BIOSERV
        4011257221          2294        $      12,363.89    4242020     CANON FINANCIAL SERVICES INC
        4011257221          2295        $      16,083.90    4242020     CARDINAL HEALTH
        4011257221          2296        $            -      4242020     NULL
        4011257221          2297        $       7,298.06    4242020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2298        $            -      4242020     NULL
        4011257221          2299        $            -      4242020     NULL
        4011257221          2300        $            -      4242020     NULL
        4011257221          2301        $       1,828.53    4242020     CHEM-AQUA
        4011257221          2302        $         580.00    4242020     CICERO CONSULTING ASSOCIATES
        4011257221          2303        $       4,275.49    4242020     CITY TREASURER
        4011257221          2304        $       5,652.73    4242020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2305        $       3,040.00    4242020     CONJERTI MOVING CO LLC
        4011257221          2306        $       2,120.00    4242020     CONNECT LIFE
        4011257221          2307        $       2,930.50    4242020     CRS NUCLEAR SERVICES LLC
        4011257221          2308        $       6,496.68    4242020     CUMMINS NORTHEAST
        4011257221          2309        $           7.75    4242020     DIRECT ENERGY BUSINESS
        4011257221          2310        $          41.51    4242020     DIRECT ENERGY BUSINESS
        4011257221          2311        $       1,310.99    4242020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2312        $       3,500.00    4242020     DRFIRST.COM INC
        4011257221          2313        $          41.77    4242020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2314        $       1,052.07    4242020     EATON OFFICE SUPPLY
        4011257221          2315        $            -      4242020     NULL
        4011257221          2316        $       2,574.00    4242020     ESUTURES
        4011257221          2317        $         515.30    4242020     FORD CREDIT
        4011257221          2318        $       1,419.50    4242020     HARRIS BEACH PLLC
        4011257221          2319        $       1,027.39    4242020     HEALTH WEAR OF WNY
        4011257221          2320        $         507.00    4242020     J.J. KELLER & ASSOCIATES INC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2321        $       1,106.85    4242020     JOHNSTON PAPER CO INC
        4011257221          2322        $       3,071.36    4242020     KALEIDA HEALTH PATIENT
        4011257221          2323        $      16,084.65    4242020     LABORATORY CORP AMERICA HOLDINGS
        4011257221          2324        $      49,392.00    4242020     LAWLEY SERVICE INC
        4011257221          2325        $         160.53    4242020     LINDE GAS NORTH AMERICA
        4011257221          2326        $       2,496.20    4242020     MANNA REFRIGERATION SERVICE INC
        4011257221          2327        $       1,390.00    4242020     MASIMO AMERICAS INC
        4011257221          2328        $       4,025.00    4242020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          2329        $         161.23    4242020     MERRY X-RAY INC
        4011257221          2330        $         344.53    4242020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2331        $          21.51    4242020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2332        $         182.20    4242020     MONTONDO'S SEAFOOD INC
        4011257221          2333        $       7,115.30    4242020     NEW YORK POWER AUTHORITY
        4011257221          2334        $      76,025.71    4242020     NEW YORK STATE INSURANCE FUND
        4011257221          2335        $       7,718.90    4242020     NUANCE COMMUNICATIONS
        4011257221          2336        $       5,428.67    4242020     NYSEG
        4011257221          2337        $         259.85    4242020     OLYMPUS AMERICA INC
        4011257221          2338        $         850.44    4242020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          2339        $         263.95    4242020     OSTEOMED L.P.
        4011257221          2340        $       4,750.00    4242020     PANTHEON CAPITAL LLC
        4011257221          2341        $         424.50    4242020     PFM MEDICAL INC
        4011257221          2342        $         289.65    4242020     PLUMB MASTER
        4011257221          2343        $          19.75    4242020     POVINELLI CUTLERY
        4011257221          2344        $       3,091.00    4242020     PUBLIC GOODS POOL
        4011257221          2345        $          25.03    4242020     ZIMMERMAN,TINA
        4011257221          2346        $         638.41    4242020     UNITED HEALTHCARE
        4011257221          2347        $           5.99    4242020     TRAVELERS
        4011257221          2348        $           5.99    4242020     TRAVELERS -
        4011257221          2349        $         120.14    4242020     AARP MEDICARE SUPPLEMENT -
        4011257221          2350        $         240.30    4242020     AARP
        4011257221          2351        $          81.74    4242020     AARP MEDICARE SUPPLEMENT
        4011257221          2352        $           8.27    4242020     AETNA MEDICARE
        4011257221          2353        $          15.47    4242020     ACADIA INS CO
        4011257221          2354        $          46.62    4242020     TRICARE FOR LIFE
        4011257221          2355        $         141.88    4242020     AMTRUST
        4011257221          2356        $         132.81    4242020     NATIONAL INTERSTATE
        4011257221          2357        $         487.50    4242020     SAFEGUARD BUSINESS SYSTEMS
        4011257221          2358        $       2,056.19    4242020     SIEMENS FINANCIAL SERVICES INC
        4011257221          2359        $       2,310.57    4242020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          2360        $         489.00    4242020     STRYKER SALES CORP
        4011257221          2361        $       4,335.33    4242020     TCF NATIONAL BANK
        4011257221          2362        $         201.96    4242020     TELEFLEX FUNDING LLC
        4011257221          2363        $           4.50    4242020     THE HEARING ADVANTAGE
        4011257221          2364        $          58.00    4242020     TIMKEY ENTERPRISES INC
        4011257221          2365        $          49.37    4242020     TOPS MARKETS LLC
        4011257221          2366        $         100.00    4242020     TOWN & COUNTRY CLUB
        4011257221          2367        $         956.50    4242020     TRANSUNION HEALTHCARE INC
        4011257221          2368        $         330.00    4242020     TRU QUALITY MEDICAL INC
        4011257221          2369        $         302.32    4242020     UNIFIRST CORPORATION
        4011257221          2370        $         216.90    4242020     UNITED PARCEL SERVICE
        4011257221          2371        $      58,333.33    4242020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          2372        $       5,000.00    4242020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          2373        $      10,162.66    4242020     US FOODSERVICE
        4011257221          2374        $         449.11    4242020     VERIZON


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                Payee Name
        4011257221          2375        $       1,501.67    4242020     WERFEN USA LLC
        4011257221          2376        $       3,789.12    4292020     1199 SEIU DUES
        4011257221          2377        $          24.02    4292020     1199 SEIU POLITICAL ACTION FUND
        4011257221          2378        $       1,048.84    4292020     AFLAC OF NEW YORK
        4011257221          2379        $          93.88    4292020     AMALGAMATED LOCAL 55 UAW
        4011257221          2380        $       1,958.84    4292020     C.S.E.A. INC
        4011257221          2381        $         397.98    4292020     DIVERSIFIED INVESTMENT
        4011257221          2382        $         100.00    4292020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2383        $       2,025.72    4292020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2384        $           5.00    4292020     EASTERN NIAGARA UNITED WAY
        4011257221          2385        $       2,880.00    4292020     JEHRIO MD PC, GREGORY T
        4011257221          2386        $       8,760.00    4292020     KHAWAR MD, M. KHALID
        4011257221          2387        $       4,205.49    4292020     LINCOLN LIFE ANNUITY CO NY
        4011257221          2388        $       4,680.00    4292020     MAJEED,MIAN MD
        4011257221          2389        $          51.10    4292020     MASSMUTUAL
        4011257221          2390        $         353.10    4292020     METLIFE
        4011257221          2391        $       2,727.98    4292020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          2392        $         891.64    4292020     NEW YORK STATE PROCESSING CENTER
        4011257221          2393        $         456.16    4292020     NIAGARA CO SHERIFF DEPT.
        4011257221          2394        $         459.38    4292020     NYS ASSESSMENT RECEIVABLES
        4011257221          2395        $         139.35    4292020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          2396        $       3,600.00    4292020     PAL MD,AMANDEEP
        4011257221          2397        $         152.69    4292020     PEARL CARROLL
        4011257221          2398        $         350.77    4292020     PHILIPPI,JULIE
        4011257221          2399        $       7,320.00    4292020     RODRIGUEZ,JAIME MD
        4011257221          2400        $       4,180.00    4292020     SAHAF MD,ASHRAF
        4011257221          2401        $      13,320.00    4292020     SIDDIQUI MD, ABRAR
        4011257221          2402        $          66.72    4292020     THE SECURITY GROUP NY
        4011257221          2403        $       2,485.00    4292020     VARIABLE ANNUITY LIFE INS
        4011257221          2404        $       1,338.00    4292020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          2405        $       1,100.00    4302020     SIEMENS BLDG TECHNOLOGIES
        4011257221          2406        $         272.80    5012020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2407        $         526.68    5012020     PEPSI-COLA
        4011257221          2408        $         383.32    5012020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2409        $         969.00    5012020     ALCON LABORATORIES INC
        4011257221          2410        $         834.00    5012020     ALERE TOXICOLOGY SERVICES INC
        4011257221          2411        $       3,647.25    5012020     AMWINS GROUP BENEFITS INC
        4011257221          2412        $       4,673.00    5012020     ARTHREX INC
        4011257221          2413        $       1,664.46    5012020     BAXTER HEALTHCARE CORP
        4011257221          2414        $      17,485.19    5012020     CAPTURENET
        4011257221          2415        $       8,246.06    5012020     CARDINAL HEALTH
        4011257221          2416        $            -      5012020     NULL
        4011257221          2417        $       7,738.06    5012020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2418        $            -      5012020     NULL
        4011257221          2419        $            -      5012020     NULL
        4011257221          2420        $       1,472.60    5012020     CHANGE HEALTHCARE LLC
        4011257221          2421        $       2,361.14    5012020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2422        $       1,120.00    5012020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2423        $         155.00    5012020     CONJERTI MOVING CO LLC
        4011257221          2424        $       2,968.00    5012020     CONNECT LIFE
        4011257221          2425        $         454.73    5012020     CORE SOUND IMAGING INC
        4011257221          2426        $       3,108.30    5012020     CRS NUCLEAR SERVICES LLC
        4011257221          2427        $         149.28    5012020     CRYSTAL ROCK
        4011257221          2428        $         647.77    5012020     DIRECT ENERGY BUSINESS


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2429        $         365.27    5012020     DIRECT ENERGY BUSINESS
        4011257221          2430        $       1,400.00    5012020     DIVERSIFIED SERVICES
        4011257221          2431        $       1,867.47    5012020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2432        $         652.72    5012020     EATON OFFICE SUPPLY
        4011257221          2433        $         975.38    5012020     EHRLICH CO INC
        4011257221          2434        $       1,247.60    5012020     FISHER HEALTHCARE
        4011257221          2435        $          12.01    5012020     FISK,PETER
        4011257221          2436        $         916.42    5012020     GE HEALTHCARE
        4011257221          2437        $       1,029.62    5012020     HEALTH WEAR OF WNY
        4011257221          2438        $         307.31    5012020     HOUSEL SERVICE STATION
        4011257221          2439        $         170.00    5012020     INFUSYSTEM
        4011257221          2440        $       1,200.00    5012020     INLAND NORTHWEST HEALTH SERVICES
        4011257221          2441        $         629.20    5012020     INTERFACE PEOPLE
        4011257221          2442        $       3,630.75    5012020     INTERLACE HEALTH LLC
        4011257221          2443        $         155.94    5012020     ISO-MED INC
        4011257221          2444        $       1,283.33    5012020     J & J HEALTH CARE SYSTEMS
        4011257221          2445        $       1,609.53    5012020     JOHNSTON PAPER CO INC
        4011257221          2446        $      18,500.00    5012020     KALEIDA HEALTH DEPT OF FINANCE
        4011257221          2447        $       1,504.00    5012020     LASER SOLUTIONS INC
        4011257221          2448        $         326.25    5012020     LOPEZ,PHILIP MD
        4011257221          2449        $         218.31    5012020     MEDI-DOSE INC
        4011257221          2450        $      15,850.00    5012020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          2451        $      65,264.00    5012020     MEDICAL LIABILITY MUTUAL
        4011257221          2452        $         105.49    5012020     MEDIVATORS INC
        4011257221          2453        $         104.52    5012020     MEDLINE INDUSTRIES INC
        4011257221          2454        $       2,463.47    5012020     MESSER LLC
        4011257221          2455        $          59.00    5012020     METRODATA INC
        4011257221          2456        $         258.49    5012020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2457        $       2,342.10    5012020     MODERN DISPOSAL SERVICES
        4011257221          2458        $          22.22    5012020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2459        $         287.04    5012020     MONTONDO'S SEAFOOD INC
        4011257221          2460        $          35.56    5012020     NOVA BIOMEDICAL
        4011257221          2461        $         675.00    5012020     NY IMAGING
        4011257221          2462        $      16,980.28    5012020     NYS UNEMPLOYMENT INSURANCE
        4011257221          2463        $       2,289.45    5012020     NYSEG
        4011257221          2464        $       1,138.16    5012020     OLYMPUS AMERICA INC
        4011257221          2465        $         278.00    5012020     OMEGA LABORATORIES INC
        4011257221          2466        $       1,298.00    5012020     OMNICELL INC
        4011257221          2467        $         113.22    5012020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          2468        $          15.94    5012020     PARTSSOURCE
        4011257221          2469        $       2,198.28    5012020     PRESS,GANEY ASSOCIATES, INC
        4011257221          2470        $         435.75    5012020     PRO BENEFITS ADMINISTRATORS
        4011257221          2471        $      21,475.00    5012020     PUBLIC GOODS POOL
        4011257221          2472        $          13.95    5012020     DANVIR,BARBARA
        4011257221          2473        $          12.95    5012020     MAHONEY,CHELSIE
        4011257221          2474        $         185.00    5012020     PLUMERI,JERI
        4011257221          2475        $         200.14    5012020     TRICARE EAST
        4011257221          2476        $          15.00    5012020     MILLER,JOSEPH E
        4011257221          2477        $          20.66    5012020     SMITH,BARBARA VAN HORNE
        4011257221          2478        $           6.15    5012020     REMINGTON,JUDITH ANN
        4011257221          2479        $          12.50    5012020     STAWICKI,THELMA
        4011257221          2480        $          50.00    5012020     WALCK,DALE
        4011257221          2481        $          20.00    5012020     PATTERSON,MYRTLE MAE
        4011257221          2482        $          10.00    5012020     COYLE,RONALD FRANCIS


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2483        $          25.00    5012020     DUCHSCHERER,GARY
        4011257221          2484        $         500.00    5012020     BECKER,SYLVIA LYNN
        4011257221          2485        $          30.66    5012020     ZUCH,BETTY GENET
        4011257221          2486        $          11.53    5012020     GOULD,DONNA LEE
        4011257221          2487        $           5.27    5012020     NOONAN,DAVID JOSEPH
        4011257221          2488        $          90.00    5012020     GRIFFITH,PATRICIA BARNES
        4011257221          2489        $          80.00    5012020     DANNER,TIMOTHY MATHEW
        4011257221          2490        $           5.27    5012020     NUGENT,KYLE
        4011257221          2491        $          29.23    5012020     BRAUN,HANS G
        4011257221          2492        $          30.66    5012020     REID,CHERYL MARIE
        4011257221          2493        $         232.96    5012020     REL COMM INC
        4011257221          2494        $       1,332.98    5012020     RELIAS LLC
        4011257221          2495        $         437.62    5012020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          2496        $      22,750.17    5012020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          2497        $          15.21    5012020     SPALDING HARDWARE
        4011257221          2498        $       3,023.29    5012020     STERICYCLE
        4011257221          2499        $         452.63    5012020     STERIS CORPORATION
        4011257221          2500        $         201.96    5012020     TELEFLEX FUNDING LLC
        4011257221          2501        $         978.06    5012020     TRANSUNION HEALTHCARE INC
        4011257221          2502        $      12,556.27    5012020     TRAVELERS
        4011257221          2503        $         987.82    5012020     TWIN CITY AMBULANCE CORP
        4011257221          2504        $         200.54    5012020     UNIFIRST CORPORATION
        4011257221          2505        $          77.92    5012020     UNITED PARCEL SERVICE
        4011257221          2506        $       7,888.43    5012020     US FOODSERVICE
        4011257221          2507        $         184.26    5012020     VERIZON
        4011257221          2508        $          57.54    5012020     VERIZON WIRELESS
        4011257221          2509        $          22.36    5012020     WB MASON CO INC
        4011257221          2510        $       6,143.34    5012020     WINDSTREAM
        4011257221          2511        $          87.00    5012020     WNY OCCUPATIONAL HEALTH CARE
        4011257221          2512        $         561.82    5012020     ZIMMER USA
        4011257221          2513        $       7,577.00    5062020     STRYKER ORTHOPAEDICS
        4011257221          2514        $       5,729.00    5062020     STRYKER ORTHOPAEDICS
        4011257221          2515        $         431.09    5082020     JACOB KERN AND SONS, INC
        4011257221          2516        $         302.50    5082020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2517        $         782.60    5082020     PEPSI-COLA
        4011257221          2518        $         392.93    5082020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2519        $         342.38    5082020     ACC BUSINESS
        4011257221          2520        $       7,236.88    5082020     ALCON LABORATORIES INC
        4011257221          2521        $       1,099.00    5082020     AMO SALES & SERVICE INC
        4011257221          2522        $          74.98    5082020     ANESTHESIA EQUIPMENT SUPPLY
        4011257221          2523        $      50,444.90    5082020     ARTHREX INC
        4011257221          2524        $       6,491.27    5082020     BAXTER HEALTHCARE CORP
        4011257221          2525        $      19,746.60    5082020     BLUE CROSS BLUE SHIELD WNY
        4011257221          2526        $       8,953.95    5082020     BLUE CROSS BLUE SHIELD WNY
        4011257221          2527        $         541.35    5082020     BRACCO DIAGNOSTICS
        4011257221          2528        $       1,760.00    5082020     BUCCILLI MD, ANDREA M
        4011257221          2529        $       8,609.22    5082020     CARDINAL HEALTH
        4011257221          2530        $            -      5082020     NULL
        4011257221          2531        $       7,612.50    5082020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2532        $            -      5082020     NULL
        4011257221          2533        $       2,171.80    5082020     CARESTREAM HEALTH INC
        4011257221          2534        $         290.95    5082020     CHEM-AQUA
        4011257221          2535        $       1,400.00    5082020     CHI MD, YONG B
        4011257221          2536        $       1,599.48    5082020     CLEAN TEXTILES SYSTEMS LP


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2537        $          46.69    5082020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2538        $         119.28    5082020     CONMED LINVATEC
        4011257221          2539        $       2,769.40    5082020     CRS NUCLEAR SERVICES LLC
        4011257221          2540        $       2,700.00    5082020     DEY, MANJUSHREE MD
        4011257221          2541        $         719.52    5082020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2542        $         262.00    5082020     DOOR SPECIALTIES INC
        4011257221          2543        $       3,675.00    5082020     DRFIRST.COM INC
        4011257221          2544        $      10,416.67    5082020     EASTERN GREAT LAKES PATHOLOGY
        4011257221          2545        $      35,666.66    5082020     EASTERN NIAGARA MEDICAL GROUP PC
        4011257221          2546        $      18,603.95    5082020     EASTERN NIAGARA SVCS ORGANIZATION
        4011257221          2547        $         890.78    5082020     EATON OFFICE SUPPLY
        4011257221          2548        $         157.00    5082020     ESUTURES
        4011257221          2549        $         335.26    5082020     EVOQUA WATER TECHNOLOGIES LLC
        4011257221          2550        $       5,000.00    5082020     FATTOUCH MD,HANY
        4011257221          2551        $       1,540.00    5082020     FETTERMAN MD, CHARLES J
        4011257221          2552        $         231.93    5082020     FISHER HEALTHCARE
        4011257221          2553        $       1,359.91    5082020     GREAT LAKES MEDICAL IMAGING LLC
        4011257221          2554        $         800.00    5082020     HAROON MD, MUNEEB
        4011257221          2555        $       1,577.95    5082020     HEALTH WEAR OF WNY
        4011257221          2556        $       1,800.00    5082020     HODGE, ROBERT W., MD
        4011257221          2557        $       9,765.60    5082020     INDEPENDENT HEALTH ASSOCIATION
        4011257221          2558        $       3,000.00    5082020     INTUITIVE SURGICAL INC
        4011257221          2559        $       1,000.00    5082020     JEHRIO MD PC, GREGORY T
        4011257221          2560        $       2,700.00    5082020     JOHNSON MD,ERIC
        4011257221          2561        $       1,296.32    5082020     JOHNSTON PAPER CO INC
        4011257221          2562        $         590.86    5082020     KCI USA
        4011257221          2563        $       2,587.14    5082020     LAWNS UNLIMITED LANDSCAPING
        4011257221          2564        $       4,281.90    5082020     LIFENET HEALTH
        4011257221          2565        $         420.00    5082020     LINDE GAS NORTH AMERICA
        4011257221          2566        $      11,480.72    5082020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          2567        $         254.58    5082020     MEDLINE INDUSTRIES INC
        4011257221          2568        $       6,390.00    5082020     MEDTRONIC
        4011257221          2569        $         257.77    5082020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2570        $         168.63    5082020     MINDRAY DS USA INC
        4011257221          2571        $       3,293.00    5082020     MIZUHO OSI
        4011257221          2572        $       1,186.36    5082020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2573        $         333.98    5082020     MONTONDO'S SEAFOOD INC
        4011257221          2574        $         184.96    5082020     MOORE,CAROLYN
        4011257221          2575        $       2,626.35    5082020     NATIONAL GRID
        4011257221          2576        $       6,000.00    5082020     NENNO II,MD DONALD J
        4011257221          2577        $       5,805.52    5082020     NYSEG
        4011257221          2578        $         605.90    5082020     OLYMPUS AMERICA INC
        4011257221          2579        $         494.75    5082020     PARTSSOURCE
        4011257221          2580        $       6,140.00    5082020     PFIZER INC
        4011257221          2581        $          19.75    5082020     POVINELLI CUTLERY
        4011257221          2582        $         631.80    5082020     PRECISION DYNAMICS CORP
        4011257221          2583        $         170.00    5082020     PRO-FLEX ADMINISTRATORS LLC
        4011257221          2584        $         655.38    5082020     QUADIENT LEASING USA INC
        4011257221          2585        $          12.95    5082020     MAHONEY,CHELSIE
        4011257221          2586        $          70.09    5082020     NIAGARA COUNTY
        4011257221          2587        $       3,200.00    5082020     ROBERTO,CRAIG MD
        4011257221          2588        $         206.70    5082020     SAFEGUARD BUSINESS SYSTEMS
        4011257221          2589        $       3,000.00    5082020     SCHRATZ MD,JEFFREY
        4011257221          2590        $       2,259.58    5082020     SIEMENS HEALTHCARE DIAGNOSTICS INC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2591        $       1,400.00    5082020     SOFAT MD, SURESH
        4011257221          2592        $         215.33    5082020     SPALDING HARDWARE
        4011257221          2593        $           7.53    5082020     SPOK INC
        4011257221          2594        $         922.01    5082020     STRYKER SALES CORP
        4011257221          2595        $      20,900.00    5082020     TECHLINE INC
        4011257221          2596        $         719.00    5082020     TELEFLEX FUNDING LLC
        4011257221          2597        $       1,195.00    5082020     TRANE US INC
        4011257221          2598        $      12,082.74    5082020     TRIMEDX LLC
        4011257221          2599        $         120.00    5082020     U&S SERVICES INC
        4011257221          2600        $         238.00    5082020     UNIFIRST CORPORATION
        4011257221          2601        $         120.33    5082020     UNITED PARCEL SERVICE
        4011257221          2602        $       8,382.46    5082020     US FOODSERVICE
        4011257221          2603        $         480.94    5082020     VERIZON
        4011257221          2604        $         429.80    5082020     VERIZON WIRELESS
        4011257221          2605        $       7,745.30    5082020     VRP NY P.A.
        4011257221          2606        $       1,400.00    5082020     WEILER MD,MARY
        4011257221          2607        $       9,800.00    5082020     WESTERN NEW YORK UROLOGY
        4011257221          2608        $         273.64    5082020     WINDSTREAM
        4011257221          2609        $         600.00    5082020     ZINNO MD, MATTHEW
        4011257221          2610        $         192.00    5082020     ARMSTRONG MEDICAL IND. INC
        4011257221          2611        $         299.80    5082020     MORTAN INC
        4011257221          2612        $       2,178.39    5082020     TRI-ANIM HEALTH SERVICES
        4011257221          2613        $       5,453.00    5082020     SYNTHES SALES INC
        4011257221          2614        $       6,069.75    5122020     STRYKER ORTHOPAEDICS
        4011257221          2615        $       4,682.24    5132020     1199 SEIU DUES
        4011257221          2616        $          26.33    5132020     1199 SEIU POLITICAL ACTION FUND
        4011257221          2617        $       1,039.89    5132020     AFLAC OF NEW YORK
        4011257221          2618        $          88.96    5132020     AMALGAMATED LOCAL 55 UAW
        4011257221          2619        $         497.50    5132020     ARTHREX INC
        4011257221          2620        $       1,881.87    5132020     C.S.E.A. INC
        4011257221          2621        $         359.57    5132020     DIVERSIFIED INVESTMENT
        4011257221          2622        $         100.00    5132020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2623        $       1,786.88    5132020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2624        $           5.00    5132020     EASTERN NIAGARA UNITED WAY
        4011257221          2625        $       1,440.00    5132020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          2626        $       4,730.00    5132020     JOHNSON MD,ERIC
        4011257221          2627        $       2,880.00    5132020     KHALIL MD,SALMA
        4011257221          2628        $       1,560.00    5132020     KHAWAR MD, M. KHALID
        4011257221          2629        $         440.00    5132020     LIBBY MD,MARGARET A
        4011257221          2630        $       4,089.08    5132020     LINCOLN LIFE ANNUITY CO NY
        4011257221          2631        $       4,680.00    5132020     MAJEED,MIAN MD
        4011257221          2632        $          51.10    5132020     MASSMUTUAL
        4011257221          2633        $         349.47    5132020     METLIFE
        4011257221          2634        $       1,915.32    5132020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          2635        $         855.69    5132020     NEW YORK STATE PROCESSING CENTER
        4011257221          2636        $         403.78    5132020     NIAGARA CO SHERIFF DEPT.
        4011257221          2637        $         454.56    5132020     NYS ASSESSMENT RECEIVABLES
        4011257221          2638        $         139.35    5132020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          2639        $       3,600.00    5132020     PAL MD,AMANDEEP
        4011257221          2640        $       1,353.50    5132020     PAPA LEO'S
        4011257221          2641        $         153.17    5132020     PEARL CARROLL
        4011257221          2642        $         350.77    5132020     PHILIPPI,JULIE
        4011257221          2643        $         100.00    5132020     FITZRANDOLPH,THOMAS
        4011257221          2644        $         100.00    5132020     KIRKPATRICK,JASON


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2645        $       8,760.00    5132020     RODRIGUEZ,JAIME MD
        4011257221          2646        $         770.00    5132020     SAHAF MD,ASHRAF
        4011257221          2647        $      11,880.00    5132020     SIDDIQUI MD, ABRAR
        4011257221          2648        $       6,237.00    5132020     STRYKER ORTHOPAEDICS
        4011257221          2649        $       3,200.00    5132020     STRYKER ORTHOPAEDICS
        4011257221          2650        $          66.72    5132020     THE SECURITY GROUP NY
        4011257221          2651        $       2,425.00    5132020     VARIABLE ANNUITY LIFE INS
        4011257221          2652        $       1,288.00    5132020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          2653        $         236.60    5152020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2654        $         580.00    5152020     PEPSI-COLA
        4011257221          2655        $         311.61    5152020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2656        $       6,448.05    5152020     ABILITY NETWORK INC
        4011257221          2657        $       1,140.00    5152020     ALCON LABORATORIES INC
        4011257221          2658        $      98,139.95    5152020     ARTHREX INC
        4011257221          2659        $            -      5152020     NULL
        4011257221          2660        $         405.24    5152020     AVANOS MEDICAL INC
        4011257221          2661        $         327.00    5152020     BUFFALO MATERIALS HANDLING CORP
        4011257221          2662        $       8,893.83    5152020     CARDINAL HEALTH
        4011257221          2663        $            -      5152020     NULL
        4011257221          2664        $            -      5152020     NULL
        4011257221          2665        $       7,209.78    5152020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2666        $            -      5152020     NULL
        4011257221          2667        $       1,828.53    5152020     CHEM-AQUA
        4011257221          2668        $       3,862.87    5152020     CITY TREASURER
        4011257221          2669        $       1,346.75    5152020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2670        $          11.84    5152020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2671        $         248.90    5152020     CONMED CORPORATION
        4011257221          2672        $       7,420.00    5152020     CONNECT LIFE
        4011257221          2673        $         485.10    5152020     CR BARD
        4011257221          2674        $         851.10    5152020     CRS NUCLEAR SERVICES LLC
        4011257221          2675        $      11,760.00    5152020     DIMENSIONS MEDICINE PC
        4011257221          2676        $      10,471.94    5152020     DIRECT ENERGY BUSINESS
        4011257221          2677        $       1,659.36    5152020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2678        $       2,317.78    5152020     DRAEGER INC
        4011257221          2679        $          50.00    5152020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2680        $       6,223.66    5152020     EASTERN VACUUM AND COMPRESSOR SVCS
        4011257221          2681        $         211.43    5152020     EATON OFFICE SUPPLY
        4011257221          2682        $         320.75    5152020     ECOLAB FOOD SAFETY SPECIALTIES
        4011257221          2683        $       4,045.40    5152020     ESUTURES
        4011257221          2684        $         578.00    5152020     FERGUSON ELECTRIC SERVICES INC
        4011257221          2685        $       9,046.00    5152020     HEALTH FACILITY ASSESSMENT FUND
        4011257221          2686        $       1,307.56    5152020     HEALTH WEAR OF WNY
        4011257221          2687        $    259,738.48     5152020     INDEPENDENT HEALTH ASSOCIATION
        4011257221          2688        $       1,224.97    5152020     JOHNSTON PAPER CO INC
        4011257221          2689        $         982.00    5152020     LASER SOLUTIONS INC
        4011257221          2690        $      10,924.47    5152020     LINCOLN LIFE ANNUITY CO OF NEW YORK
        4011257221          2691        $      11,255.29    5152020     LINCOLN LIFE ANNUITY CO OF NEW YORK
        4011257221          2692        $         316.52    5152020     LINDE GAS NORTH AMERICA
        4011257221          2693        $         236.78    5152020     LINEAGE
        4011257221          2694        $       9,605.29    5152020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          2695        $         623.00    5152020     MED-PAT
        4011257221          2696        $       2,869.86    5152020     MEDIVATORS INC
        4011257221          2697        $         179.04    5152020     MEDLINE INDUSTRIES INC
        4011257221          2698        $       1,387.48    5152020     MESSER LLC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                 Payee Name
        4011257221          2699        $         177.00    5152020     METRODATA INC
        4011257221          2700        $         239.10    5152020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2701        $       5,538.24    5152020     MINDRAY CAPITAL
        4011257221          2702        $          31.89    5152020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2703        $         755.00    5152020     NEW ENGLAND MEDICAL SPECIALTIES
        4011257221          2704        $       1,230.00    5152020     NUANCE COMMUNICATIONS
        4011257221          2705        $         365.79    5152020     NYSEG
        4011257221          2706        $         145.00    5152020     COLLINS-HARTWIG,PAMELA
        4011257221          2707        $       1,408.00    5152020     AARP
        4011257221          2708        $          50.00    5152020     WALCK,DALE
        4011257221          2709        $         423.97    5152020     REL COMM INC
        4011257221          2710        $         366.00    5152020     SERACARE LIFE SCIENCES INC
        4011257221          2711        $       5,433.56    5152020     SIEMENS FINANCIAL SERVICES INC
        4011257221          2712        $         160.61    5152020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          2713        $         892.86    5152020     SMITH & NEPHEW INC
        4011257221          2714        $          30.82    5152020     SPALDING HARDWARE
        4011257221          2715        $         140.16    5152020     STATLAB MEDICAL PRODUCTS
        4011257221          2716        $       6,296.48    5152020     STERIS CORPORATION
        4011257221          2717        $       9,029.00    5152020     SYNTHES SALES INC
        4011257221          2718        $         378.96    5152020     TELEFLEX FUNDING LLC
        4011257221          2719        $         757.89    5152020     TIME WARNER CABLE
        4011257221          2720        $       1,102.85    5152020     TIME WARNER CABLE
        4011257221          2721        $         490.00    5152020     TRU QUALITY MEDICAL INC
        4011257221          2722        $         200.54    5152020     UNIFIRST CORPORATION
        4011257221          2723        $          14.86    5152020     UNITED PARCEL SERVICE
        4011257221          2724        $       8,973.10    5152020     US FOODSERVICE
        4011257221          2725        $            -      5152020     NULL
        4011257221          2726        $         960.00    5152020     VAPOTHERM INC
        4011257221          2727        $       1,466.64    5152020     WERFEN USA LLC
        4011257221          2728        $       3,835.22    5152020     WOLTERS KLUWER CLINICAL DRUG
        4011257221          2729        $       4,881.00    5152020     X-CELL LABORATORIES OF WNY INC
        4011257221          2730        $         955.11    5152020     ZIMMER USA
        4011257221          2731        $       1,111.56    5192020     JOHNSTON PAPER CO INC
        4011257221          2732        $         155.60    5202020     CONJERTI MOVING CO LLC
        4011257221          2733        $       9,865.00    5202020     STRYKER ORTHOPAEDICS
        4011257221          2734        $         510.00    5212020     ALCON LABORATORIES INC
        4011257221          2735        $         230.00    5212020     AMO SALES & SERVICE INC
        4011257221          2736        $       4,878.00    5212020     ARMORED ACCESS INC
        4011257221          2737        $       9,395.00    5212020     ARTHREX INC
        4011257221          2738        $       4,005.38    5212020     BAXTER HEALTHCARE CORP
        4011257221          2739        $          89.85    5212020     BENOIT SECURITY INC
        4011257221          2740        $       1,758.69    5212020     BOSTON SCIENTIFIC CORPORATION
        4011257221          2741        $       1,578.00    5212020     BRACCO DIAGNOSTICS
        4011257221          2742        $      12,363.89    5212020     CANON FINANCIAL SERVICES INC
        4011257221          2743        $       4,227.75    5212020     CARDINAL HEALTH
        4011257221          2744        $            -      5212020     NULL
        4011257221          2745        $          46.05    5212020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          2746        $      23,610.31    5212020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2747        $            -      5212020     NULL
        4011257221          2748        $            -      5212020     NULL
        4011257221          2749        $         110.80    5212020     CHANGE HEALTHCARE LLC
        4011257221          2750        $       2,362.42    5212020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2751        $          10.36    5212020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2752        $       3,040.00    5212020     CONJERTI MOVING CO LLC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                 Payee Name
        4011257221          2753        $       5,454.70    5212020     CONNECT LIFE
        4011257221          2754        $         143.66    5212020     DIRECT ENERGY BUSINESS
        4011257221          2755        $       1,267.94    5212020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2756        $          59.16    5212020     DRAEGER INC
        4011257221          2757        $          40.45    5212020     EATON OFFICE SUPPLY
        4011257221          2758        $      84,656.58    5212020     GREAT LAKES MEDICAL IMAGING LLC
        4011257221          2759        $       1,024.97    5212020     HEALTH WEAR OF WNY
        4011257221          2760        $      10,556.83    5212020     KALEIDA HEALTH PATIENT
        4011257221          2761        $       1,027.55    5212020     KCI USA
        4011257221          2762        $         337.60    5212020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2763        $       3,337.80    5212020     LINDE GAS NORTH AMERICA
        4011257221          2764        $         276.76    5212020     MENTECKI,DAVID
        4011257221          2765        $         227.10    5212020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2766        $         217.29    5212020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2767        $         182.20    5212020     MONTONDO'S SEAFOOD INC
        4011257221          2768        $         105.00    5212020     NEW ENGLAND MEDICAL SPECIALTIES
        4011257221          2769        $       4,551.00    5212020     NUANCE COMMUNICATIONS
        4011257221          2770        $      27,729.53    5212020     NYS UNEMPLOYMENT INSURANCE
        4011257221          2771        $          27.91    5212020     NYSEG
        4011257221          2772        $         764.77    5212020     PARTSSOURCE
        4011257221          2773        $         380.00    5212020     PENTAX MEDICAL COMPANY
        4011257221          2774        $         739.07    5212020     PEPSI-COLA
        4011257221          2775        $         460.50    5212020     PFM MEDICAL INC
        4011257221          2776        $          19.75    5212020     POVINELLI CUTLERY
        4011257221          2777        $         348.00    5212020     PROFESSIONAL COMMUNICATIONS
        4011257221          2778        $       1,983.00    5212020     PUBLIC GOODS POOL
        4011257221          2779        $         150.00    5212020     HAGEMAN,JAMIE
        4011257221          2780        $          88.66    5212020     TRICARE EAST
        4011257221          2781        $         804.00    5212020     MVP HEALTHCARE
        4011257221          2782        $           8.31    5212020     SANSONE,JAMES JOSEPH
        4011257221          2783        $          31.19    5212020     RANALLO,ANNA MARIA
        4011257221          2784        $          33.09    5212020     SMITH,JOHN LEMUEL
        4011257221          2785        $          30.00    5212020     MERCURIO,JUSTINE M
        4011257221          2786        $         143.00    5212020     SAFEGUARD BUSINESS SYSTEMS
        4011257221          2787        $       2,184.58    5212020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          2788        $          24.17    5212020     SPALDING HARDWARE
        4011257221          2789        $       4,335.33    5212020     TCF NATIONAL BANK
        4011257221          2790        $         201.96    5212020     TELEFLEX FUNDING LLC
        4011257221          2791        $         238.00    5212020     UNIFIRST CORPORATION
        4011257221          2792        $          54.71    5212020     UNITED PARCEL SERVICE
        4011257221          2793        $         449.31    5212020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2794        $       7,767.35    5212020     US FOODSERVICE
        4011257221          2795        $         562.06    5212020     VERIZON
        4011257221          2796        $         445.25    5212020     VERIZON WIRELESS
        4011257221          2797        $       7,017.31    5212020     WERFEN USA LLC
        4011257221          2798        $         129.00    5212020     WLVL CULVER COMMUNICATIONS
        4011257221          2799        $         105.00    5212020     ZIMMER USA
        4011257221          2800        $       2,364.00    5222020     ASPEN SURGICAL
        4011257221          2801        $         149.45    5262020     JOHNSTON PAPER CO INC
        4011257221          2802        $       8,239.00    5262020     STRYKER ORTHOPAEDICS
        4011257221          2803        $       4,732.24    5272020     1199 SEIU DUES
        4011257221          2804        $          24.02    5272020     1199 SEIU POLITICAL ACTION FUND
        4011257221          2805        $         837.71    5272020     AFLAC OF NEW YORK
        4011257221          2806        $          89.72    5272020     AMALGAMATED LOCAL 55 UAW


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                Payee Name
        4011257221          2807        $       1,931.47    5272020     C.S.E.A. INC
        4011257221          2808        $         416.58    5272020     DIVERSIFIED INVESTMENT
        4011257221          2809        $         100.00    5272020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2810        $       1,756.11    5272020     EASTERN NIAGARA HOSPITAL INC
        4011257221          2811        $           5.00    5272020     EASTERN NIAGARA UNITED WAY
        4011257221          2812        $       8,880.00    5272020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          2813        $         880.00    5272020     JOHNSON MD,ERIC
        4011257221          2814        $       7,560.00    5272020     KHAWAR MD, M. KHALID
        4011257221          2815        $       3,881.54    5272020     LINCOLN LIFE ANNUITY CO NY
        4011257221          2816        $       4,320.00    5272020     MAJEED,MIAN MD
        4011257221          2817        $          51.10    5272020     MASSMUTUAL
        4011257221          2818        $         349.11    5272020     METLIFE
        4011257221          2819        $       2,363.30    5272020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          2820        $         855.69    5272020     NEW YORK STATE PROCESSING CENTER
        4011257221          2821        $         385.08    5272020     NIAGARA CO SHERIFF DEPT.
        4011257221          2822        $         488.16    5272020     NYS ASSESSMENT RECEIVABLES
        4011257221          2823        $         137.49    5272020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          2824        $       3,600.00    5272020     PAL MD,AMANDEEP
        4011257221          2825        $         182.89    5272020     PEARL CARROLL
        4011257221          2826        $       2,880.00    5272020     RICCHIAZZI,TINA
        4011257221          2827        $       1,560.00    5272020     RODRIGUEZ,JAIME MD
        4011257221          2828        $       3,080.00    5272020     SAHAF MD,ASHRAF
        4011257221          2829        $       8,760.00    5272020     SIDDIQUI MD, ABRAR
        4011257221          2830        $          66.72    5272020     THE SECURITY GROUP NY
        4011257221          2831        $       2,485.00    5272020     VARIABLE ANNUITY LIFE INS
        4011257221          2832        $       1,188.00    5272020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          2833        $         334.80    5292020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2834        $         583.02    5292020     PEPSI-COLA
        4011257221          2835        $         300.88    5292020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2836        $         337.90    5292020     ACC BUSINESS
        4011257221          2837        $       2,314.00    5292020     ALCON LABORATORIES INC
        4011257221          2838        $         675.00    5292020     ALERE TOXICOLOGY SERVICES INC
        4011257221          2839        $         165.00    5292020     AMO SALES & SERVICE INC
        4011257221          2840        $       3,647.25    5292020     AMWINS GROUP BENEFITS INC
        4011257221          2841        $       1,080.28    5292020     ARGON MEDICAL DEVICES INC
        4011257221          2842        $      12,243.55    5292020     ARTHREX INC
        4011257221          2843        $       4,960.18    5292020     BAXTER HEALTHCARE CORP
        4011257221          2844        $       2,436.00    5292020     BENISTAR-6811
        4011257221          2845        $       6,070.00    5292020     BOSTON SCIENTIFIC CORPORATION
        4011257221          2846        $         272.50    5292020     BUFFALO MATERIALS HANDLING CORP
        4011257221          2847        $      15,305.03    5292020     CAPTURENET
        4011257221          2848        $       9,988.76    5292020     CARDINAL HEALTH
        4011257221          2849        $            -      5292020     NULL
        4011257221          2850        $            -      5292020     NULL
        4011257221          2851        $         141.63    5292020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          2852        $      12,555.77    5292020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2853        $            -      5292020     NULL
        4011257221          2854        $       1,006.50    5292020     CHANGE HEALTHCARE LLC
        4011257221          2855        $         626.95    5292020     CHEM-AQUA
        4011257221          2856        $       1,079.95    5292020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2857        $       1,121.48    5292020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2858        $         116.70    5292020     CONMED CORPORATION
        4011257221          2859        $       8,904.00    5292020     CONNECT LIFE
        4011257221          2860        $         209.43    5292020     CORE SOUND IMAGING INC


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      Account Number    Check Number     Dollar Amount     Issue Date                Payee Name
        4011257221          2861        $       1,022.92    5292020     CR BARD
        4011257221          2862        $         960.00    5292020     CRS NUCLEAR SERVICES LLC
        4011257221          2863        $          80.58    5292020     CRYSTAL ROCK
        4011257221          2864        $         331.22    5292020     DIRECT ENERGY BUSINESS
        4011257221          2865        $       1,175.00    5292020     DIVERSIFIED SERVICES
        4011257221          2866        $         120.18    5292020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2867        $      10,416.67    5292020     EASTERN GREAT LAKES PATHOLOGY
        4011257221          2868        $       1,000.00    5292020     EASTERN VACUUM AND COMPRESSOR SVCS
        4011257221          2869        $         190.07    5292020     EATON OFFICE SUPPLY
        4011257221          2870        $         486.78    5292020     ECOLAB INSTITUTIONAL
        4011257221          2871        $         975.38    5292020     EHRLICH CO INC
        4011257221          2872        $         945.00    5292020     FISHER HEALTHCARE
        4011257221          2873        $         515.30    5292020     FORD CREDIT
        4011257221          2874        $       1,026.11    5292020     HEALTH WEAR OF WNY
        4011257221          2875        $         170.00    5292020     INFUSYSTEM
        4011257221          2876        $       1,200.00    5292020     INLAND NORTHWEST HEALTH SERVICES
        4011257221          2877        $         629.20    5292020     INTERFACE PEOPLE
        4011257221          2878        $       1,106.30    5292020     JOHNSTON PAPER CO INC
        4011257221          2879        $       1,064.50    5292020     KARL STORZ ENDOSCOPY AMERICAN
        4011257221          2880        $       2,070.12    5292020     KCI USA
        4011257221          2881        $      14,611.44    5292020     LABORATORY CORP AMERICA HOLDINGS
        4011257221          2882        $       2,567.14    5292020     LAWNS UNLIMITED LANDSCAPING
        4011257221          2883        $       2,796.92    5292020     LINDE GAS NORTH AMERICA
        4011257221          2884        $         407.85    5292020     LINSTAR INC
        4011257221          2885        $          82.50    5292020     LOPEZ,PHILIP MD
        4011257221          2886        $       6,669.85    5292020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          2887        $      15,850.00    5292020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          2888        $       1,365.67    5292020     MEDIVATORS INC
        4011257221          2889        $       2,308.87    5292020     MESSER LLC
        4011257221          2890        $         513.00    5292020     METRODATA INC
        4011257221          2891        $         222.77    5292020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2892        $         389.67    5292020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2893        $         338.04    5292020     MONTONDO'S SEAFOOD INC
        4011257221          2894        $       7,588.55    5292020     NEW YORK POWER AUTHORITY
        4011257221          2895        $      76,025.71    5292020     NEW YORK STATE INSURANCE FUND NYSIF
        4011257221          2896        $       4,826.40    5292020     NOVUM MEDICAL PRODUCTS INC
        4011257221          2897        $         390.00    5292020     NY IMAGING
        4011257221          2898        $       2,364.92    5292020     NYSEG
        4011257221          2899        $         392.00    5292020     OMEGA LABORATORIES INC
        4011257221          2900        $         351.42    5292020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          2901        $       4,750.00    5292020     PANTHEON CAPITAL LLC
        4011257221          2902        $         169.00    5292020     PHYSICIAN'S RECORD CO
        4011257221          2903        $       2,198.28    5292020     PRESS,GANEY ASSOCIATES, INC
        4011257221          2904        $         374.00    5292020     PRO BENEFITS ADMINISTRATORS
        4011257221          2905        $          24.99    5292020     DOBSON,SHARON
        4011257221          2906        $       5,679.87    5292020     SCHINDLER ELEVATOR CORP
        4011257221          2907        $       9,339.25    5292020     SHRED-IT USA
        4011257221          2908        $       2,056.19    5292020     SIEMENS FINANCIAL SERVICES INC
        4011257221          2909        $       2,590.41    5292020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          2910        $      22,750.17    5292020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          2911        $          77.52    5292020     SPALDING HARDWARE
        4011257221          2912        $       2,769.03    5292020     STERICYCLE
        4011257221          2913        $         177.37    5292020     STERIS CORPORATION
        4011257221          2914        $         605.88    5292020     TELEFLEX FUNDING LLC


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2915        $       1,319.27    5292020     TRANSUNION HEALTHCARE INC
        4011257221          2916        $      12,576.27    5292020     TRAVELERS
        4011257221          2917        $         708.75    5292020     TRI-ANIM HEALTH SERVICES
        4011257221          2918        $       4,650.00    5292020     TRI-DELTA RESOURCES CORP
        4011257221          2919        $       8,893.75    5292020     U&S SERVICES INC
        4011257221          2920        $         149.26    5292020     ULINE INC
        4011257221          2921        $      63,333.33    5292020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          2922        $       7,514.59    5292020     US FOODSERVICE
        4011257221          2923        $         107.00    5292020     VAPOTHERM INC
        4011257221          2924        $         184.31    5292020     VERIZON
        4011257221          2925        $          57.54    5292020     VERIZON WIRELESS
        4011257221          2926        $       5,124.25    5292020     VRP NY P.A.
        4011257221          2927        $         464.40    5292020     WESCOTT LABORATORY SOLUTIONS LLC
        4011257221          2928        $       5,729.00    6012020     STRYKER ORTHOPAEDICS
        4011257221          2929        $         167.20    6052020     LATINA BOULEVARD FOODS, LLC.
        4011257221          2930        $         790.80    6052020     PEPSI-COLA
        4011257221          2931        $         252.03    6052020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          2932        $       2,819.44    6052020     ADVANCED STERILIZATION PRODUCTS
        4011257221          2933        $       8,773.45    6052020     ALCON LABORATORIES INC
        4011257221          2934        $          95.00    6052020     ARMSTRONG MEDICAL IND. INC
        4011257221          2935        $       5,619.90    6052020     ARTHREX INC
        4011257221          2936        $       2,085.38    6052020     BAXTER HEALTHCARE CORP
        4011257221          2937        $       1,400.00    6052020     BENEY PC MD, CHRISTOPHER
        4011257221          2938        $       2,435.20    6052020     BRACCO DIAGNOSTICS
        4011257221          2939        $       1,615.00    6052020     BSC MEDICAL
        4011257221          2940        $       1,320.00    6052020     BUCCILLI MD, ANDREA M
        4011257221          2941        $      17,552.17    6052020     CARDINAL HEALTH
        4011257221          2942        $            -      6052020     NULL
        4011257221          2943        $            -      6052020     NULL
        4011257221          2944        $         265.47    6052020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          2945        $      23,341.39    6052020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          2946        $            -      6052020     NULL
        4011257221          2947        $            -      6052020     NULL
        4011257221          2948        $         299.20    6052020     CDW GOVERNMENT, INC
        4011257221          2949        $         600.00    6052020     CHI MD, YONG B
        4011257221          2950        $       2,074.94    6052020     CLEAN TEXTILES SYSTEMS LP
        4011257221          2951        $       1,400.00    6052020     CLERK MD, HARNATH
        4011257221          2952        $          29.60    6052020     COMMUNITY COMPUTER SERVICE INC
        4011257221          2953        $         863.30    6052020     CRS NUCLEAR SERVICES LLC
        4011257221          2954        $          39.48    6052020     CRYSTAL ROCK
        4011257221          2955        $       2,700.00    6052020     DEY, MANJUSHREE MD
        4011257221          2956        $       1,690.55    6052020     DOBMEIER JANITOR SUPPLY INC
        4011257221          2957        $         914.16    6052020     DRAEGER INC
        4011257221          2958        $      35,666.66    6052020     EASTERN NIAGARA MEDICAL GROUP PC
        4011257221          2959        $      15,943.98    6052020     EASTERN NIAGARA SVCS ORGANIZATION
        4011257221          2960        $       1,227.20    6052020     EATON OFFICE SUPPLY
        4011257221          2961        $         567.15    6052020     ESUTURES
        4011257221          2962        $       5,000.00    6052020     FATTOUCH MD,HANY
        4011257221          2963        $       1,760.00    6052020     FETTERMAN MD, CHARLES J
        4011257221          2964        $          33.50    6052020     FISHER HEALTHCARE
        4011257221          2965        $       1,400.00    6052020     FLASCHNER MD, STEVEN
        4011257221          2966        $       3,600.00    6052020     FORWARD ADVANTAGE
        4011257221          2967        $         916.42    6052020     GE HEALTHCARE
        4011257221          2968        $         246.14    6052020     HEALTH CARE TECHNOLOGY


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          2969        $       1,184.54    6052020     HEALTH WEAR OF WNY
        4011257221          2970        $       2,400.00    6052020     HODGE, ROBERT W., MD
        4011257221          2971        $       3,950.00    6052020     HOOT LLC
        4011257221          2972        $         339.80    6052020     HUBERT COMPANY
        4011257221          2973        $         484.00    6052020     INTERFACE PEOPLE
        4011257221          2974        $         281.82    6052020     J & J HEALTH CARE SYSTEMS
        4011257221          2975        $       1,400.00    6052020     JEHRIO MD PC, GREGORY T
        4011257221          2976        $       3,000.00    6052020     JOHNSON MD,ERIC
        4011257221          2977        $       1,310.95    6052020     JOHNSTON PAPER CO INC
        4011257221          2978        $      25,000.00    6052020     LAWLEY AGENCY LLC
        4011257221          2979        $      20,014.95    6052020     LINCOLN LIFE ANNUITY CO OF NEW YORK
        4011257221          2980        $       3,775.00    6052020     LOPEZ MD PC,OSCAR S
        4011257221          2981        $      58,736.00    6052020     MEDICAL LIABILITY MUTUAL
        4011257221          2982        $       1,300.00    6052020     MEDIVATORS INC
        4011257221          2983        $      10,590.00    6052020     MEDTRONIC
        4011257221          2984        $          49.22    6052020     MERRY X-RAY INC
        4011257221          2985        $       1,511.16    6052020     MESSER LLC
        4011257221          2986        $         107.00    6052020     MICRO-AIRE
        4011257221          2987        $         216.41    6052020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          2988        $         919.80    6052020     MINDRAY DS USA INC
        4011257221          2989        $       2,807.01    6052020     MODERN DISPOSAL SERVICES
        4011257221          2990        $         148.56    6052020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          2991        $         232.15    6052020     MONTONDO'S SEAFOOD INC
        4011257221          2992        $       6,000.00    6052020     NENNO II,MD DONALD J
        4011257221          2993        $         531.90    6052020     OLYMPUS AMERICA INC
        4011257221          2994        $       1,298.00    6052020     OMNICELL INC
        4011257221          2995        $       1,452.32    6052020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          2996        $          53.98    6052020     PAPER DIRECT
        4011257221          2997        $         773.90    6052020     PARTSSOURCE
        4011257221          2998        $          32.00    6052020     PEDIATRIC CARDIOLOGY ASSO. WNY
        4011257221          2999        $         199.26    6052020     PRECISION DYNAMICS CORP
        4011257221          3000        $         170.00    6052020     PRO-FLEX ADMINISTRATORS LLC
        4011257221          3001        $      14,389.00    6052020     PUBLIC GOODS POOL
        4011257221          3002        $         300.00    6052020     RARE EARTH INTERACTIVE
        4011257221          3003        $         116.34    6052020     LOFTUS,HEATHER
        4011257221          3004        $       1,332.98    6052020     RELIAS LLC
        4011257221          3005        $      15,000.00    6052020     REVINT SOLUTIONS LLC
        4011257221          3006        $       3,200.00    6052020     ROBERTO,CRAIG MD
        4011257221          3007        $       2,700.00    6052020     SCHRATZ MD,JEFFREY
        4011257221          3008        $          21.25    6052020     SECURITY CREDIT SYSTEMS
        4011257221          3009        $       2,259.58    6052020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          3010        $         431.91    6052020     SMITHS MEDICAL ASD, INC
        4011257221          3011        $          84.83    6052020     SPALDING HARDWARE
        4011257221          3012        $         191.30    6052020     STRYKER SALES CORP
        4011257221          3013        $      21,647.00    6052020     SYNTHES SALES INC
        4011257221          3014        $          39.00    6052020     TELEFLEX FUNDING LLC
        4011257221          3015        $         166.00    6052020     TIMKEY ENTERPRISES INC
        4011257221          3016        $         170.00    6052020     TRU QUALITY MEDICAL INC
        4011257221          3017        $         396.35    6052020     UNIFIRST CORPORATION
        4011257221          3018        $         123.01    6052020     UNITED PARCEL SERVICE
        4011257221          3019        $       3,000.00    6052020     UNITED STATES POSTAL SERVICE
        4011257221          3020        $       6,752.29    6052020     US FOODSERVICE
        4011257221          3021        $      10,300.00    6052020     WESTERN NEW YORK UROLOGY
        4011257221          3022        $         203.94    6052020     ZIMMER USA


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3023        $       1,100.00    6052020     ZINNO MD, MATTHEW
        4011257221          3024        $       4,756.89    6102020     1199 SEIU DUES
        4011257221          3025        $          24.03    6102020     1199 SEIU POLITICAL ACTION FUND
        4011257221          3026        $         958.90    6102020     AFLAC OF NEW YORK
        4011257221          3027        $          98.18    6102020     AMALGAMATED LOCAL 55 UAW
        4011257221          3028        $       1,914.36    6102020     C.S.E.A. INC
        4011257221          3029        $         386.61    6102020     DIVERSIFIED INVESTMENT
        4011257221          3030        $         100.00    6102020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3031        $       1,756.11    6102020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3032        $           5.00    6102020     EASTERN NIAGARA UNITED WAY
        4011257221          3033        $       6,000.00    6102020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          3034        $       2,695.00    6102020     JOHNSON MD,ERIC
        4011257221          3035        $       3,973.37    6102020     LINCOLN LIFE ANNUITY CO NY
        4011257221          3036        $      10,440.00    6102020     MAJEED,MIAN MD
        4011257221          3037        $          51.10    6102020     MASSMUTUAL
        4011257221          3038        $         349.11    6102020     METLIFE
        4011257221          3039        $       2,342.86    6102020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          3040        $         855.69    6102020     NEW YORK STATE PROCESSING CENTER
        4011257221          3041        $         371.41    6102020     NIAGARA CO SHERIFF DEPT.
        4011257221          3042        $         545.51    6102020     NYS ASSESSMENT RECEIVABLES
        4011257221          3043        $         139.35    6102020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          3044        $         160.24    6102020     PEARL CARROLL
        4011257221          3045        $         100.00    6102020     MYERS,NANCY
        4011257221          3046        $       3,000.00    6102020     RODRIGUEZ,JAIME MD
        4011257221          3047        $       3,080.00    6102020     SAHAF MD,ASHRAF
        4011257221          3048        $       5,880.00    6102020     SIDDIQUI MD, ABRAR
        4011257221          3049        $          66.72    6102020     THE SECURITY GROUP NY
        4011257221          3050        $       2,485.00    6102020     VARIABLE ANNUITY LIFE INS
        4011257221          3051        $       1,288.00    6102020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          3052        $      22,560.00    6102020     DIMENSIONS MEDICINE PC
        4011257221          3053        $       8,640.00    6102020     DIMENSIONS MEDICINE PC
        4011257221          3054        $         252.10    6122020     LATINA BOULEVARD FOODS, LLC.
        4011257221          3055        $         499.07    6122020     PEPSI-COLA
        4011257221          3056        $         353.41    6122020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          3057        $       6,448.05    6122020     ABILITY NETWORK INC
        4011257221          3058        $         275.00    6122020     ADEPT-MED
        4011257221          3059        $         705.00    6122020     ALCON LABORATORIES INC
        4011257221          3060        $         460.75    6122020     ARTHREX INC
        4011257221          3061        $      86,490.00    6122020     BARCLAY DAMON LLP
        4011257221          3062        $       2,805.35    6122020     BAXTER HEALTHCARE CORP
        4011257221          3063        $      19,746.60    6122020     BLUE CROSS BLUE SHIELD WNY
        4011257221          3064        $       8,953.95    6122020     BLUE CROSS BLUE SHIELD WNY
        4011257221          3065        $       1,758.69    6122020     BOSTON SCIENTIFIC CORPORATION
        4011257221          3066        $         519.95    6122020     BRACCO DIAGNOSTICS
        4011257221          3067        $         666.67    6122020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          3068        $         207.93    6122020     CITY TREASURER
        4011257221          3069        $       1,279.18    6122020     CLEAN TEXTILES SYSTEMS LP
        4011257221          3070        $           8.14    6122020     COMMUNITY COMPUTER SERVICE INC
        4011257221          3071        $       4,142.00    6122020     CONNECT LIFE
        4011257221          3072        $         115.00    6122020     CR BARD
        4011257221          3073        $         265.00    6122020     CRS NUCLEAR SERVICES LLC
        4011257221          3074        $       1,185.96    6122020     CUMMINS NORTHEAST
        4011257221          3075        $       7,415.01    6122020     DIRECT ENERGY BUSINESS
        4011257221          3076        $       2,058.74    6122020     EATON OFFICE SUPPLY


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                 Payee Name
        4011257221          3077        $            -      6122020     NULL
        4011257221          3078        $         870.75    6122020     EHRLICH CO INC
        4011257221          3079        $       7,556.00    6122020     HEALTH FACILITY ASSESSMENT FUND
        4011257221          3080        $       1,253.34    6122020     HEALTH WEAR OF WNY
        4011257221          3081        $    292,682.34     6122020     INDEPENDENT HEALTH ASSOCIATION
        4011257221          3082        $       1,561.57    6122020     JOHNSTON PAPER CO INC
        4011257221          3083        $       1,680.00    6122020     KALEIDA HEALTH DEPT OF FINANCE
        4011257221          3084        $       4,476.38    6122020     LIFENET HEALTH
        4011257221          3085        $       3,225.00    6122020     MCKAY,MICHELE MNS,RN,CNE
        4011257221          3086        $       1,851.71    6122020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          3087        $         607.56    6122020     MEDIVATORS INC
        4011257221          3088        $         177.00    6122020     METRODATA INC
        4011257221          3089        $         215.54    6122020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3090        $       5,538.24    6122020     MINDRAY CAPITAL
        4011257221          3091        $         212.60    6122020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          3092        $         182.20    6122020     MONTONDO'S SEAFOOD INC
        4011257221          3093        $       1,556.58    6122020     NATIONAL GRID
        4011257221          3094        $       1,687.22    6122020     NEWFANE WATER DISTRICT
        4011257221          3095        $         669.55    6122020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          3096        $         316.01    6122020     PRECISION DYNAMICS CORP
        4011257221          3097        $          17.31    6122020     PRIMECARE MEDICAL OF NEW YORK
        4011257221          3098        $          24.71    6122020     NOVA HEALTHCARE ADMINISTRATORS.
        4011257221          3099        $          86.02    6122020     NOVA HEALTHCARE ADMINISTRATORS
        4011257221          3100        $         306.21    6122020     NOVA HEALTHCARE ADMINISTRATOR
        4011257221          3101        $         502.91    6122020     ANDREW W. GIFFORD
        4011257221          3102        $         730.00    6122020     SIEMENS BLDG TECHNOLOGIES
        4011257221          3103        $       5,433.56    6122020     SIEMENS FINANCIAL SERVICES INC
        4011257221          3104        $       1,919.89    6122020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          3105        $       2,184.58    6122020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          3106        $          39.79    6122020     SPALDING HARDWARE
        4011257221          3107        $         991.15    6122020     STERIS CORPORATION
        4011257221          3108        $       5,330.00    6122020     STRYKER ORTHOPAEDICS
        4011257221          3109        $       1,260.00    6122020     STRYKER SALES CORP
        4011257221          3110        $         231.94    6122020     TELEFLEX FUNDING LLC
        4011257221          3111        $         724.82    6122020     TIMKEY ENTERPRISES INC
        4011257221          3112        $            -      6122020     NULL
        4011257221          3113        $         580.07    6122020     TOWN OF LOCKPORT WATER DISTRICT
        4011257221          3114        $         715.00    6122020     ULRICH SIGN CO
        4011257221          3115        $         720.00    6122020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          3116        $       6,039.32    6122020     US FOODSERVICE
        4011257221          3117        $         481.86    6122020     VERIZON
        4011257221          3118        $         287.76    6122020     WB MASON CO INC
        4011257221          3119        $         140.00    6122020     ZIMMER USA
        4011257221          3120        $         349.67    6122020     ZOLL MEDICAL CORPORATION
        4011257221          3121        $       7,577.00    6152020     STRYKER ORTHOPAEDICS
        4011257221          3122        $       5,217.13    6152020     LIFENET HEALTH
        4011257221          3123        $         326.75    6192020     LATINA BOULEVARD FOODS, LLC.
        4011257221          3124        $         515.18    6192020     PEPSI-COLA
        4011257221          3125        $         376.85    6192020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          3126        $         147.95    6192020     ACE MECHANICAL SERVICES LLC
        4011257221          3127        $       4,716.00    6192020     ALCON LABORATORIES INC
        4011257221          3128        $         115.00    6192020     AMO SALES & SERVICE INC
        4011257221          3129        $         840.00    6192020     ARTHREX INC
        4011257221          3130        $       1,893.84    6192020     BAXTER HEALTHCARE CORP


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3131        $         195.26    6192020     BIO-RAD LABORATORIES
        4011257221          3132        $       4,639.44    6192020     BOSTON SCIENTIFIC CORPORATION
        4011257221          3133        $         197.50    6192020     BSC MEDICAL
        4011257221          3134        $      39,246.51    6192020     CARDINAL HEALTH
        4011257221          3135        $            -      6192020     NULL
        4011257221          3136        $            -      6192020     NULL
        4011257221          3137        $            -      6192020     NULL
        4011257221          3138        $            -      6192020     NULL
        4011257221          3139        $            -      6192020     NULL
        4011257221          3140        $         347.32    6192020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          3141        $      56,459.62    6192020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          3142        $            -      6192020     NULL
        4011257221          3143        $            -      6192020     NULL
        4011257221          3144        $            -      6192020     NULL
        4011257221          3145        $         211.72    6192020     CITY TREASURER
        4011257221          3146        $       3,309.67    6192020     CLEAN TEXTILES SYSTEMS LP
        4011257221          3147        $           8.88    6192020     COMMUNITY COMPUTER SERVICE INC
        4011257221          3148        $       3,680.50    6192020     CONNECT LIFE
        4011257221          3149        $       1,075.24    6192020     CR BARD
        4011257221          3150        $       1,351.00    6192020     CRS NUCLEAR SERVICES LLC
        4011257221          3151        $       3,215.00    6192020     DAVIS-ULMER SPRINKLER CO
        4011257221          3152        $       1,799.06    6192020     DIRECT ENERGY BUSINESS
        4011257221          3153        $       8,384.79    6192020     DIRECT ENERGY BUSINESS
        4011257221          3154        $         702.20    6192020     DOBMEIER JANITOR SUPPLY INC
        4011257221          3155        $         703.97    6192020     EATON OFFICE SUPPLY
        4011257221          3156        $         486.78    6192020     ECOLAB INSTITUTIONAL
        4011257221          3157        $       1,385.77    6192020     EM CAHILL COMPANY INC
        4011257221          3158        $       2,372.00    6192020     FIBERTECH MEDICAL USA LLC
        4011257221          3159        $         195.18    6192020     FISHER HEALTHCARE
        4011257221          3160        $          27.00    6192020     FOXY DELIVERY SERVICE INC
        4011257221          3161        $         237.81    6192020     GETINGE USA SALES LLC
        4011257221          3162        $         260.00    6192020     GREAT LAKES MEDICAL BILLING
        4011257221          3163        $         480.00    6192020     GU-TEK
        4011257221          3164        $      10,513.78    6192020     HEALTH WEAR OF WNY
        4011257221          3165        $         725.00    6192020     HOOT LLC
        4011257221          3166        $         325.43    6192020     HOUSELS SERVICE STATION
        4011257221          3167        $      15,200.00    6192020     INTELLIGENT MEDICAL OBJECTS INC
        4011257221          3168        $      37,799.95    6192020     INTUITIVE SURGICAL INC
        4011257221          3169        $       1,266.72    6192020     JOHNSTON PAPER CO INC
        4011257221          3170        $       1,680.00    6192020     KALEIDA HEALTH DEPT OF FINANCE
        4011257221          3171        $         872.85    6192020     KCI USA
        4011257221          3172        $       1,885.00    6192020     LASER SOLUTIONS INC
        4011257221          3173        $          51.00    6192020     LIFENET HEALTH
        4011257221          3174        $       1,200.67    6192020     LINDE GAS NORTH AMERICA
        4011257221          3175        $       4,125.00    6192020     LOPEZ MD PC,OSCAR S
        4011257221          3176        $          82.00    6192020     LTL MEDICAL LLC
        4011257221          3177        $         274.65    6192020     MEDI-DOSE INC
        4011257221          3178        $       1,120.56    6192020     MEDLINE INDUSTRIES INC
        4011257221          3179        $       2,772.64    6192020     MESSER LLC
        4011257221          3180        $          56.50    6192020     MICRO-AIRE
        4011257221          3181        $         203.39    6192020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3182        $       1,600.89    6192020     MINDRAY DS USA INC
        4011257221          3183        $         355.10    6192020     MIRION TECHNOLOGIES INC
        4011257221          3184        $         568.96    6192020     MOHAWK HOSPTIAL EQUIPMENT INC


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3185        $         182.20    6192020     MONTONDO'S SEAFOOD INC
        4011257221          3186        $       5,781.00    6192020     NUANCE COMMUNICATIONS
        4011257221          3187        $      13,424.42    6192020     NYSEG
        4011257221          3188        $         180.89    6192020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          3189        $          25.34    6192020     PARTSSOURCE
        4011257221          3190        $          19.75    6192020     POVINELLI CUTLERY
        4011257221          3191        $         157.13    6192020     PRECISION DYNAMICS CORP
        4011257221          3192        $         345.00    6192020     QUEST DIAGNOSTICS OF PA
        4011257221          3193        $         600.00    6192020     DEWATERS,JESSE
        4011257221          3194        $       2,383.40    6192020     SHRED-IT USA
        4011257221          3195        $       1,393.68    6192020     SMITH & NEPHEW INC
        4011257221          3196        $         575.88    6192020     SMITHS MEDICAL ASD, INC
        4011257221          3197        $       2,749.99    6192020     STRYKER SALES CORP
        4011257221          3198        $       5,416.00    6192020     SYNTHES SALES INC
        4011257221          3199        $         276.96    6192020     TELEFLEX FUNDING LLC
        4011257221          3200        $         500.89    6192020     TOPS MARKETS LLC
        4011257221          3201        $         150.00    6192020     U&S SERVICES INC
        4011257221          3202        $         756.63    6192020     UNIFIRST CORPORATION
        4011257221          3203        $            -      6192020     NULL
        4011257221          3204        $       1,100.93    6192020     UNITED PARCEL SERVICE
        4011257221          3205        $       5,929.41    6192020     US FOODSERVICE
        4011257221          3206        $         483.91    6192020     VERIZON
        4011257221          3207        $          32.41    6192020     WESCOTT LABORATORY SOLUTIONS LLC
        4011257221          3208        $      15,360.14    6192020     WINDSTREAM
        4011257221          3209        $         349.67    6192020     ZOLL MEDICAL CORPORATION
        4011257221          3210        $      40,996.98    6222020     BOND SCHOENECK & KING PLLC
        4011257221          3211        $       6,187.50    6222020     NEXTPOINT LLC
        4011257221          3212        $       4,888.66    6242020     1199 SEIU DUES
        4011257221          3213        $          24.03    6242020     1199 SEIU POLITICAL ACTION FUND
        4011257221          3214        $         893.94    6242020     AFLAC OF NEW YORK
        4011257221          3215        $          80.45    6242020     AMALGAMATED LOCAL 55 UAW
        4011257221          3216        $       1,964.99    6242020     C.S.E.A. INC
        4011257221          3217        $          95.80    6242020     COAST PROFESSIONAL INC
        4011257221          3218        $         473.40    6242020     DIVERSIFIED INVESTMENT
        4011257221          3219        $         100.00    6242020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3220        $       2,079.95    6242020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3221        $           5.00    6242020     EASTERN NIAGARA UNITED WAY
        4011257221          3222        $       1,560.00    6242020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          3223        $       1,320.00    6242020     JOHNSON MD,ERIC
        4011257221          3224        $       6,000.00    6242020     KHAWAR MD, M. KHALID
        4011257221          3225        $       4,102.48    6242020     LINCOLN LIFE ANNUITY CO NY
        4011257221          3226        $       4,440.00    6242020     MAJEED,MIAN MD
        4011257221          3227        $          51.10    6242020     MASSMUTUAL
        4011257221          3228        $         354.03    6242020     METLIFE
        4011257221          3229        $       2,862.16    6242020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          3230        $       1,551.79    6242020     NEW YORK STATE PROCESSING CENTER
        4011257221          3231        $         439.53    6242020     NIAGARA CO SHERIFF DEPT.
        4011257221          3232        $         469.56    6242020     NYS ASSESSMENT RECEIVABLES
        4011257221          3233        $         137.96    6242020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          3234        $       5,400.00    6242020     PAL MD,AMANDEEP
        4011257221          3235        $         160.24    6242020     PEARL CARROLL
        4011257221          3236        $         100.00    6242020     JORDAN,RICHARD
        4011257221          3237        $       4,320.00    6242020     RODRIGUEZ,JAIME MD
        4011257221          3238        $       2,475.00    6242020     SAHAF MD,ASHRAF


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3239        $       4,560.00    6242020     SIDDIQUI MD, ABRAR
        4011257221          3240        $          66.72    6242020     THE SECURITY GROUP NY
        4011257221          3241        $       2,485.00    6242020     VARIABLE ANNUITY LIFE INS
        4011257221          3242        $       1,338.00    6242020     VOYA INSTITUTIONAL TRUST COMPANY
        4011257221          3243        $      19,680.00    6242020     DIMENSIONS MEDICINE PC
        4011257221          3244        $         229.75    6262020     LATINA BOULEVARD FOODS, LLC.
        4011257221          3245        $         595.76    6262020     PEPSI-COLA
        4011257221          3246        $         303.71    6262020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          3247        $         337.90    6262020     ACC BUSINESS
        4011257221          3248        $         942.35    6262020     ADVANCED STERILIZATION PRODUCTS
        4011257221          3249        $         277.00    6262020     ALERE TOXICOLOGY SERVICES INC
        4011257221          3250        $         984.00    6262020     AMO SALES & SERVICE INC
        4011257221          3251        $       3,647.25    6262020     AMWINS GROUP BENEFITS INC
        4011257221          3252        $       1,232.00    6262020     APPLIED MEDICAL
        4011257221          3253        $       2,186.90    6262020     ARJO INC
        4011257221          3254        $         225.00    6262020     ARMSTRONG MEDICAL IND. INC
        4011257221          3255        $       2,204.95    6262020     ARTHREX INC
        4011257221          3256        $       4,596.71    6262020     BAXTER HEALTHCARE CORP
        4011257221          3257        $       2,436.00    6262020     BENISTAR-6811
        4011257221          3258        $         571.02    6262020     BIO-RAD LABORATORIES
        4011257221          3259        $      33,069.00    6262020     BOSTON SCIENTIFIC CORPORATION
        4011257221          3260        $         590.97    6262020     BRACCO DIAGNOSTICS
        4011257221          3261        $      12,363.89    6262020     CANON FINANCIAL SERVICES INC
        4011257221          3262        $       6,336.66    6262020     CARDINAL HEALTH
        4011257221          3263        $            -      6262020     NULL
        4011257221          3264        $            -      6262020     NULL
        4011257221          3265        $            -      6262020     NULL
        4011257221          3266        $         117.32    6262020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          3267        $      21,422.49    6262020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          3268        $            -      6262020     NULL
        4011257221          3269        $            -      6262020     NULL
        4011257221          3270        $       2,387.37    6262020     CLEAN TEXTILES SYSTEMS LP
        4011257221          3271        $           5.18    6262020     COMMUNITY COMPUTER SERVICE INC
        4011257221          3272        $       3,040.00    6262020     CONJERTI MOVING CO LLC
        4011257221          3273        $       6,047.00    6262020     CONNECT LIFE
        4011257221          3274        $         240.47    6262020     CORE SOUND IMAGING INC
        4011257221          3275        $       2,045.20    6262020     CR BARD
        4011257221          3276        $         792.40    6262020     CRS NUCLEAR SERVICES LLC
        4011257221          3277        $           7.46    6262020     DIRECT ENERGY BUSINESS
        4011257221          3278        $         209.27    6262020     DIRECT ENERGY BUSINESS
        4011257221          3279        $       1,875.00    6262020     DIVERSIFIED SERVICES
        4011257221          3280        $         887.31    6262020     DOBMEIER JANITOR SUPPLY INC
        4011257221          3281        $      10,416.67    6262020     EASTERN GREAT LAKES PATHOLOGY
        4011257221          3282        $      19,202.60    6262020     EASTERN NIAGARA SVCS ORGANIZATION
        4011257221          3283        $         964.65    6262020     EATON OFFICE SUPPLY
        4011257221          3284        $         104.63    6262020     EHRLICH CO INC
        4011257221          3285        $       1,200.00    6262020     ENGAGE IT SERVICES INC
        4011257221          3286        $         346.24    6262020     EVOQUA WATER TECHNOLOGIES LLC
        4011257221          3287        $         218.87    6262020     FISHER HEALTHCARE
        4011257221          3288        $         515.30    6262020     FORD CREDIT
        4011257221          3289        $         480.00    6262020     GU-TEK
        4011257221          3290        $       1,648.25    6262020     HEALTH WEAR OF WNY
        4011257221          3291        $         170.00    6262020     INFUSYSTEM
        4011257221          3292        $         979.95    6262020     INTUITIVE SURGICAL INC


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3293        $       1,409.14    6262020     JOHNSTON PAPER CO INC
        4011257221          3294        $      13,610.78    6262020     KALEIDA HEALTH PATIENT
        4011257221          3295        $      22,982.28    6262020     LABORATORY CORP AMERICA HOLDINGS
        4011257221          3296        $         436.98    6262020     LINDE GAS NORTH AMERICA
        4011257221          3297        $         202.50    6262020     LOPEZ,PHILIP MD
        4011257221          3298        $       1,072.50    6262020     MCKAY,MICHELE MNS,RN,CNE
        4011257221          3299        $      19,358.84    6262020     MCKESSON MEDICAL-SURGICAL INC
        4011257221          3300        $          17.94    6262020     MEDI-DOSE INC
        4011257221          3301        $         311.56    6262020     MEDLINE INDUSTRIES INC
        4011257221          3302        $       1,537.47    6262020     MESSER LLC
        4011257221          3303        $         225.00    6262020     MICRO-AIRE
        4011257221          3304        $         190.11    6262020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3305        $         415.00    6262020     MILLENNIUM SURGICAL CORP
        4011257221          3306        $          35.45    6262020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          3307        $         182.20    6262020     MONTONDO'S SEAFOOD INC
        4011257221          3308        $       2,500.00    6262020     NALCO WATER
        4011257221          3309        $         755.00    6262020     NEW ENGLAND MEDICAL SPECIALTIES
        4011257221          3310        $       5,281.37    6262020     NEW YORK POWER AUTHORITY
        4011257221          3311        $      76,025.71    6262020     NEW YORK STATE INSURANCE FUND NYSIF
        4011257221          3312        $       3,002.43    6262020     NYSEG
        4011257221          3313        $       1,353.82    6262020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          3314        $      88,031.53    6262020     PANTHEON CAPITAL LLC
        4011257221          3315        $         178.20    6262020     PARTSSOURCE
        4011257221          3316        $         104.24    6262020     PRECISION DYNAMICS CORP
        4011257221          3317        $       2,198.28    6262020     PRESS,GANEY ASSOCIATES, INC
        4011257221          3318        $         429.25    6262020     PRO BENEFITS ADMINISTRATORS
        4011257221          3319        $         285.00    6262020     PROFESSIONAL COMMUNICATIONS
        4011257221          3320        $       2,788.00    6262020     PUBLIC GOODS POOL
        4011257221          3321        $         924.08    6262020     QUEST DIAGNOSTICS OF PA
        4011257221          3322        $         109.39    6262020     MILITELLO,MARALYN
        4011257221          3323        $       2,243.00    6262020     SHRED-IT USA
        4011257221          3324        $       2,056.19    6262020     SIEMENS FINANCIAL SERVICES INC
        4011257221          3325        $       2,590.41    6262020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          3326        $         307.48    6262020     SMITH & NEPHEW INC
        4011257221          3327        $          15.30    6262020     SPALDING HARDWARE
        4011257221          3328        $       3,222.92    6262020     STERICYCLE
        4011257221          3329        $       4,939.42    6262020     STERIS CORPORATION
        4011257221          3330        $       2,074.00    6262020     STRATUS VIDEO LLC
        4011257221          3331        $       4,335.33    6262020     TCF NATIONAL BANK
        4011257221          3332        $       2,235.00    6262020     TELA BIO INC
        4011257221          3333        $      28,954.36    6262020     TIME WARNER CABLE
        4011257221          3334        $       1,686.30    6262020     TRANSUNION HEALTHCARE INC
        4011257221          3335        $      12,566.27    6262020     TRAVELERS
        4011257221          3336        $       1,890.38    6262020     TRI-ANIM HEALTH SERVICES
        4011257221          3337        $         825.59    6262020     U&S SERVICES INC
        4011257221          3338        $         205.38    6262020     UNIFIRST CORPORATION
        4011257221          3339        $          46.01    6262020     UNITED PARCEL SERVICE
        4011257221          3340        $       6,854.93    6262020     US FOODSERVICE
        4011257221          3341        $         184.31    6262020     VERIZON
        4011257221          3342        $         487.34    6262020     VERIZON WIRELESS
        4011257221          3343        $       6,449.90    6262020     VRP NY P.A.
        4011257221          3344        $         282.22    6262020     WERFEN USA LLC
        4011257221          3345        $       7,647.96    6262020     WINDSTREAM
        4011257221          3346        $          84.00    6262020     ZIMMER USA


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Case No. 1-20-10903-CLB                            Exhibit A
      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3347        $    110,411.00     6292020     US TRUSTEE PAYMENT CENTER
        4011257221          3348        $    197,417.86     6292020     FREEDMAXICK CPAS PC
        4011257221          3349        $       6,448.05    6292020     ABILITY NETWORK INC
        4011257221          3350        $      10,968.00    6292020     ACO ACQUISITION LLC
        4011257221          3351        $       1,888.77    6292020     ADVANCED STERILIZATION PRODUCTS
        4011257221          3352        $         695.00    6292020     ALERE TOXICOLOGY SERVICES INC
        4011257221          3353        $         328.00    6292020     ALLOSOURCE
        4011257221          3354        $         345.30    6292020     ARJO INC
        4011257221          3355        $         250.00    6292020     ASR SYSTEMS GROUP INC
        4011257221          3356        $       3,028.34    6292020     BAXTER HEALTHCARE CORP
        4011257221          3357        $         394.95    6292020     BELL MEDICAL INC
        4011257221          3358        $       1,105.04    6292020     BIO-RAD LABORATORIES
        4011257221          3359        $         405.00    6292020     BIOSERV
        4011257221          3360        $      18,730.60    6292020     BLUE CROSS BLUE SHIELD WNY
        4011257221          3361        $       8,953.95    6292020     BLUE CROSS BLUE SHIELD WNY
        4011257221          3362        $      54,538.25    6292020     BOND SCHOENECK & KING PLLC
        4011257221          3363        $      34,707.57    6292020     BOSTON SCIENTIFIC CORPORATION
        4011257221          3364        $       1,650.00    6292020     BUCCILLI MD, ANDREA M
        4011257221          3365        $         146.00    6292020     BUFFALO EXPERT SERVICE TECH.
        4011257221          3366        $      60,621.40    6292020     CARDINAL HEALTH
        4011257221          3367        $            -      6292020     NULL
        4011257221          3368        $            -      6292020     NULL
        4011257221          3369        $            -      6292020     NULL
        4011257221          3370        $            -      6292020     NULL
        4011257221          3371        $            -      6292020     NULL
        4011257221          3372        $            -      6292020     NULL
        4011257221          3373        $            -      6292020     NULL
        4011257221          3374        $         734.59    6292020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          3375        $      30,612.18    6292020     CARDINAL HEALTH-SYRACUSE DIVISION
        4011257221          3376        $            -      6292020     NULL
        4011257221          3377        $            -      6292020     NULL
        4011257221          3378        $            -      6292020     NULL
        4011257221          3379        $            -      6292020     NULL
        4011257221          3380        $       1,204.50    6292020     CHANGE HEALTHCARE LLC
        4011257221          3381        $       1,400.00    6292020     CHI MD, YONG B
        4011257221          3382        $       3,635.63    6292020     CITY TREASURER
        4011257221          3383        $      12,731.73    6292020     CLEAN TEXTILES SYSTEMS LP
        4011257221          3384        $         907.74    6292020     COMMUNITY COMPUTER SERVICE INC
        4011257221          3385        $       2,879.80    6292020     CRS NUCLEAR SERVICES LLC
        4011257221          3386        $         159.35    6292020     CRYSTAL ROCK
        4011257221          3387        $         472.50    6292020     CULLIGAN WATER CONDITIONING
        4011257221          3388        $       9,900.00    6292020     DENT NEUROLOGIC GROUP LLP
        4011257221          3389        $       2,700.00    6292020     DEY, MANJUSHREE MD
        4011257221          3390        $         861.82    6292020     DIAGNOSTIC SOLUTIONS
        4011257221          3391        $           4.08    6292020     DIRECT ENERGY BUSINESS
        4011257221          3392        $         398.20    6292020     DOBMEIER JANITOR SUPPLY INC
        4011257221          3393        $      35,666.66    6292020     EASTERN NIAGARA MEDICAL GROUP PC
        4011257221          3394        $         865.96    6292020     EASTERN VACUUM AND COMPRESSOR SVCS
        4011257221          3395        $       1,832.47    6292020     EATON OFFICE SUPPLY
        4011257221          3396        $            -      6292020     NULL
        4011257221          3397        $            -      6292020     NULL
        4011257221          3398        $         450.40    6292020     ECOLAB FOOD SAFETY SPECIALTIES
        4011257221          3399        $         796.00    6292020     EDWARDS LIFESCIENCES
        4011257221          3400        $       1,082.48    6292020     EHRLICH CO INC


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3401        $       1,385.77    6292020     EM CAHILL COMPANY INC
        4011257221          3402        $         308.00    6292020     ESUTURES
        4011257221          3403        $       5,000.00    6292020     FATTOUCH MD,HANY
        4011257221          3404        $       1,650.00    6292020     FETTERMAN MD, CHARLES J
        4011257221          3405        $         231.27    6292020     FISHER HEALTHCARE
        4011257221          3406        $         400.00    6292020     FLASCHNER MD, STEVEN
        4011257221          3407        $      28,250.00    6292020     FOAM DEPOT INC
        4011257221          3408        $       1,929.00    6292020     FORWARD ADVANTAGE
        4011257221          3409        $         916.42    6292020     GE HEALTHCARE
        4011257221          3410        $      12,994.80    6292020     GETINGE USA SALES LLC
        4011257221          3411        $         769.75    6292020     GI SUPPLY
        4011257221          3412        $         542.28    6292020     GI-RO DRY CLEANERS
        4011257221          3413        $       1,400.00    6292020     HAROON MD, MUNEEB
        4011257221          3414        $         246.14    6292020     HEALTH CARE TECHNOLOGY
        4011257221          3415        $       4,735.87    6292020     HEALTH WEAR OF WNY
        4011257221          3416        $            -      6292020     NULL
        4011257221          3417        $       2,700.00    6292020     HODGE, ROBERT W., MD
        4011257221          3418        $         349.64    6292020     HOUSELS SERVICE STATION
        4011257221          3419        $       1,486.00    6292020     HOVERTECH
        4011257221          3420        $    275,213.16     6292020     INDEPENDENT HEALTH ASSOCIATION
        4011257221          3421        $         170.00    6292020     INFUSYSTEM
        4011257221          3422        $       5,148.57    6292020     J & J HEALTH CARE SYSTEMS
        4011257221          3423        $       2,400.00    6292020     JOHNSON MD,ERIC
        4011257221          3424        $      87,812.90    6292020     KALEIDA HEALTH PATIENT
        4011257221          3425        $         371.15    6292020     KCI USA
        4011257221          3426        $       2,848.00    6292020     LASER SOLUTIONS INC
        4011257221          3427        $       2,567.14    6292020     LAWNS UNLIMITED LANDSCAPING
        4011257221          3428        $         629.37    6292020     LINDE GAS NORTH AMERICA
        4011257221          3429        $         576.00    6292020     MANNA REFRIGERATION SERVICE INC
        4011257221          3430        $      15,850.00    6292020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          3431        $      58,736.00    6292020     MEDICAL LIABILITY MUTUAL
        4011257221          3432        $         494.93    6292020     MERCY FLIGHT INC
        4011257221          3433        $       3,137.76    6292020     MESSER LLC
        4011257221          3434        $       1,983.00    6292020     METRODATA INC
        4011257221          3435        $         257.42    6292020     MICRO-AIRE
        4011257221          3436        $         748.57    6292020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3437        $            -      6292020     NULL
        4011257221          3438        $       1,751.00    6292020     MILLENNIUM SURGICAL CORP
        4011257221          3439        $       5,660.00    6292020     MILLIGRAY & ASSOCIATES
        4011257221          3440        $       2,128.34    6292020     MODERN DISPOSAL SERVICES
        4011257221          3441        $       1,561.52    6292020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          3442        $         912.09    6292020     MONTONDO'S SEAFOOD INC
        4011257221          3443        $       5,000.00    6292020     NALCO WATER
        4011257221          3444        $       4,900.00    6292020     NENNO II,MD DONALD J
        4011257221          3445        $      15,625.00    6292020     NEXTPOINT LLC
        4011257221          3446        $          65.00    6292020     NOVA BIOMEDICAL
        4011257221          3447        $      10,424.91    6292020     NUANCE COMMUNICATIONS
        4011257221          3448        $       1,074.05    6292020     NY IMAGING
        4011257221          3449        $    116,727.58     6292020     NYS UNEMPLOYMENT INSURANCE
        4011257221          3450        $       1,298.00    6292020     OMNICELL INC
        4011257221          3451        $       2,789.04    6292020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          3452        $       3,223.95    6292020     OSTEOMED L.P.
        4011257221          3453        $         661.78    6292020     PARTSSOURCE
        4011257221          3454        $          39.50    6292020     POVINELLI CUTLERY


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3455        $      13,868.00    6292020     PUBLIC GOODS POOL
        4011257221          3456        $         119.98    6292020     QUILL CORPORATION
        4011257221          3457        $      10,605.14    6292020     REL COMM INC
        4011257221          3458        $       1,332.98    6292020     RELIAS LLC
        4011257221          3459        $       3,200.00    6292020     ROBERTO,CRAIG MD
        4011257221          3460        $       4,354.87    6292020     SCHINDLER ELEVATOR CORP
        4011257221          3461        $       2,400.00    6292020     SCHRATZ MD,JEFFREY
        4011257221          3462        $       9,730.87    6292020     SIEMENS HEALTHCARE DIAGNOSTICS INC
        4011257221          3463        $       5,542.24    6292020     SIEMENS MEDICAL SOLUTIONS USA INS
        4011257221          3464        $         387.00    6292020     SMITH & NEPHEW INC
        4011257221          3465        $       1,400.00    6292020     SOFAT MD, SURESH
        4011257221          3466        $         161.78    6292020     SPALDING HARDWARE
        4011257221          3467        $           8.00    6292020     STRATUS VIDEO LLC
        4011257221          3468        $      19,539.00    6292020     STRYKER ORTHOPAEDICS
        4011257221          3469        $         952.20    6292020     STRYKER SALES CORP
        4011257221          3470        $         500.00    6292020     TIDI PRODUCTS LLC
        4011257221          3471        $       1,195.00    6292020     TRANE US INC
        4011257221          3472        $       4,650.00    6292020     TRI-DELTA RESOURCES CORP
        4011257221          3473        $      21,408.70    6292020     TRIMEDX LLC
        4011257221          3474        $         768.45    6292020     UNIFIRST CORPORATION
        4011257221          3475        $            -      6292020     NULL
        4011257221          3476        $         525.41    6292020     UNITED PARCEL SERVICE
        4011257221          3477        $      63,333.33    6292020     UNIVERSITY EMERGENCY MEDICAL SVCS
        4011257221          3478        $      54,239.41    6292020     US FOODSERVICE
        4011257221          3479        $            -      6292020     NULL
        4011257221          3480        $            -      6292020     NULL
        4011257221          3481        $         110.52    6292020     WB MASON CO INC
        4011257221          3482        $       1,400.00    6292020     WEILER MD,MARY
        4011257221          3483        $      10,405.70    6292020     WERFEN USA LLC
        4011257221          3484        $       9,800.00    6292020     WESTERN NEW YORK UROLOGY
        4011257221          3485        $       3,025.50    6292020     X-CELL LABORATORIES OF WNY INC
        4011257221          3486        $       1,700.00    6292020     ZINNO MD, MATTHEW
        4011257221          3487        $       3,800.00    6292020     MEDTRONIC
        4011257221          3488        $      47,000.00    6302020     LUMSDEN & MCCORMICK LLP
        4011257221          3489        $       3,120.00    6302020     AARON DAUTCH STERNBERG & LAWSON
        4011257221          3490        $      16,348.24    6302020     LABORATORY CORP AMERICA HOLDINGS
        4011257221          3491        $      18,000.00    6302020     CAPTURENET
        4011257221          3492        $       6,090.00    6302020     ARMORED ACCESS INC
        4011257221          3493        $       4,560.75    6302020     FERGUSON ELECTRIC SERVICES INC
        4011257221          3494        $      70,514.33    7012020     GIBBINS ADVISORS
        4011257221          3495        $      15,850.00    7012020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          3496        $      88,031.53    7012020     PANTHEON CAPITAL LLC
        4011257221          3497        $         636.43    7022020     ACE MECHANICAL SERVICES LLC
        4011257221          3498        $       1,283.33    7022020     ADVANCED STERILIZATION PRODUCTS
        4011257221          3499        $       1,268.72    7022020     BENEDICTS CONTRACTING INC
        4011257221          3500        $          70.36    7022020     BIO-RAD LABORATORIES
        4011257221          3501        $         181.00    7022020     BIOTEK SERVICES INC
        4011257221          3502        $      13,250.00    7022020     BOSTON SCIENTIFIC CORPORATION
        4011257221          3503        $         117.00    7022020     BUFFALO MATERIALS HANDLING CORP
        4011257221          3504        $       5,137.87    7022020     CARDINAL HEALTH
        4011257221          3505        $            -      7022020     NULL
        4011257221          3506        $            -      7022020     NULL
        4011257221          3507        $         839.13    7022020     CARDINAL HEALTH OPTIFREIGHT
        4011257221          3508        $      15,342.09    7022020     CARDINAL HEALTH-SYRACUSE DIVISION


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      Account Number    Check Number     Dollar Amount     Issue Date                Payee Name
        4011257221          3509        $            -      7022020     NULL
        4011257221          3510        $       1,672.50    7022020     CARESTREAM HEALTH INC
        4011257221          3511        $       6,819.11    7022020     CLEAN TEXTILES SYSTEMS LP
        4011257221          3512        $          60.00    7022020     COMMUNITY COMPUTER SERVICE INC
        4011257221          3513        $       3,316.00    7022020     CONNECT LIFE
        4011257221          3514        $       4,825.25    7022020     DIRECT ENERGY BUSINESS
        4011257221          3515        $       1,174.69    7022020     DOBMEIER JANITOR SUPPLY INC
        4011257221          3516        $         855.00    7022020     DRAEGER INC
        4011257221          3517        $         582.90    7022020     EATON OFFICE SUPPLY
        4011257221          3518        $         486.78    7022020     ECOLAB INSTITUTIONAL
        4011257221          3519        $         639.13    7022020     EVOQUA WATER TECHNOLOGIES LLC
        4011257221          3520        $          70.00    7022020     FIBERTECH MEDICAL USA LLC
        4011257221          3521        $          24.28    7022020     FISK,PETER
        4011257221          3522        $         181.59    7022020     GI-RO DRY CLEANERS
        4011257221          3523        $       1,106.94    7022020     HEALTH WEAR OF WNY
        4011257221          3524        $       1,486.00    7022020     HOVERTECH
        4011257221          3525        $         900.54    7022020     IMMUCOR INC
        4011257221          3526        $       3,194.40    7022020     INTERFACE PEOPLE
        4011257221          3527        $         309.30    7022020     LATINA BOULEVARD FOODS, LLC.
        4011257221          3528        $       1,267.70    7022020     LINDE GAS NORTH AMERICA
        4011257221          3529        $         243.75    7022020     LOPEZ,PHILIP MD
        4011257221          3530        $         349.14    7022020     MESSER LLC
        4011257221          3531        $          65.53    7022020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3532        $         100.72    7022020     MOHAWK HOSPTIAL EQUIPMENT INC
        4011257221          3533        $         356.01    7022020     MONTONDO'S SEAFOOD INC
        4011257221          3534        $       1,837.81    7022020     NATIONAL GRID
        4011257221          3535        $         351.42    7022020     ORTHO CLINICAL DIAGNOSTICS INC
        4011257221          3536        $       1,851.22    7022020     PARTSSOURCE
        4011257221          3537        $         820.56    7022020     PEPSI-COLA
        4011257221          3538        $          19.75    7022020     POVINELLI CUTLERY
        4011257221          3539        $         355.10    7022020     PROFESSIONAL COMMUNICATIONS
        4011257221          3540        $         179.97    7022020     QUILL CORPORATION
        4011257221          3541        $          55.27    7022020     BURDO,JENNIFER
        4011257221          3542        $          23.52    7022020     NAPOLEON,RACHEL
        4011257221          3543        $       1,332.98    7022020     RELIAS LLC
        4011257221          3544        $      11,739.00    7022020     STRYKER ORTHOPAEDICS
        4011257221          3545        $       1,643.46    7022020     STRYKER SALES CORP
        4011257221          3546        $         493.94    7022020     TOPS MARKETS LLC
        4011257221          3547        $         565.00    7022020     TRANE US INC
        4011257221          3548        $         376.74    7022020     UNIFIRST CORPORATION
        4011257221          3549        $         225.06    7022020     UNITED PARCEL SERVICE
        4011257221          3550        $         323.74    7022020     UPSTATE NIAGARA COOPERATIVE INC
        4011257221          3551        $       5,583.69    7022020     US FOODSERVICE
        4011257221          3552        $         880.00    7022020     VERATHON INC
        4011257221          3553        $         481.86    7022020     VERIZON
        4011257221          3554        $          10.99    7022020     WB MASON CO INC
        4011257221          3555        $       1,352.10    7022020     X-CELL LABORATORIES OF WNY INC
        4011257221          3556        $      13,511.00    7022020     MEDICAL INFORMATION TECHNOLOGY, INC
        4011257221          3557        $       3,200.00    7072020     ROBERTO,CRAIG MD
        4011257221          3558        $      11,705.00    7072020     HEALTH FACILITY ASSESSMENT FUND
        4011257221          3559        $      16,681.00    7072020     PUBLIC GOODS POOL
        4011257221          3560        $       2,204.00    7072020     PUBLIC GOODS POOL
        4011257221          3561        $       1,407.79    7072020     JOHNSTON PAPER CO INC
        4011257221          3562        $          69.74    7072020     MIDSTATE BAKERY DISTRIBUTORS, INC


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      Account Number    Check Number     Dollar Amount     Issue Date                   Payee Name
        4011257221          3563        $      34,807.00    7072020     STRYKER ORTHOPAEDICS
        4011257221          3564        $         608.24    7072020     US FOODSERVICE
        4011257221          3565        $       1,771.04    7072020     US FOODSERVICE
        4011257221          3566        $          93.28    7072020     MIDSTATE BAKERY DISTRIBUTORS, INC
        4011257221          3567        $      14,876.57    7082020     CAPTURENET
        4011257221          3568        $       2,613.89    7082020     GIBBINS ADVISORS
        4011257221          3569        $       2,198.25    7082020     PRESS,GANEY ASSOCIATES, INC
        4011257221          3570        $       8,640.00    7082020     AGILITY HEALTH INC
        4011257221          3571        $      23,760.00    7082020     DIMENSIONS MEDICINE PC
        4011257221          3572        $       5,008.34    7082020     1199 SEIU DUES
        4011257221          3573        $          28.64    7082020     1199 SEIU POLITICAL ACTION FUND
        4011257221          3574        $         961.14    7082020     AFLAC OF NEW YORK
        4011257221          3575        $          82.58    7082020     AMALGAMATED LOCAL 55 UAW
        4011257221          3576        $       1,940.19    7082020     C.S.E.A. INC
        4011257221          3577        $       1,440.00    7082020     CLERK MD, HARNATH
        4011257221          3578        $          20.81    7082020     COAST PROFESSIONAL INC
        4011257221          3579        $         413.18    7082020     DIVERSIFIED INVESTMENT
        4011257221          3580        $         100.00    7082020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3581        $       2,126.10    7082020     EASTERN NIAGARA HOSPITAL INC
        4011257221          3582        $           5.00    7082020     EASTERN NIAGARA UNITED WAY
        4011257221          3583        $       2,880.00    7082020     EASTVIEW FAMILY PRACTICE,PC
        4011257221          3584        $       1,100.00    7082020     JOHNSON MD,ERIC
        4011257221          3585        $       4,244.80    7082020     LINCOLN LIFE ANNUITY CO NY
        4011257221          3586        $       6,000.00    7082020     MAJEED,MIAN MD
        4011257221          3587        $          51.10    7082020     MASSMUTUAL
        4011257221          3588        $         352.42    7082020     METLIFE
        4011257221          3589        $       2,744.27    7082020     METROPOLITAN LIFE INSURANCE COMPANY
        4011257221          3590        $       1,244.80    7082020     NEW YORK STATE PROCESSING CENTER
        4011257221          3591        $         381.42    7082020     NIAGARA CO SHERIFF DEPT.
        4011257221          3592        $         506.41    7082020     NYS ASSESSMENT RECEIVABLES
        4011257221          3593        $         139.35    7082020     ORLEANS COUNTY SHERIFF'S DEPT
        4011257221          3594        $         160.24    7082020     PEARL CARROLL
        4011257221          3595        $       2,310.00    7082020     SAHAF MD,ASHRAF
        4011257221          3596        $       7,560.00    7082020     SIDDIQUI MD, ABRAR
        4011257221          3597        $          66.72    7082020     THE SECURITY GROUP NY
        4011257221          3598        $       2,485.00    7082020     VARIABLE ANNUITY LIFE INS
        4011257221          3599        $       1,338.00    7082020     VOYA INSTITUTIONAL TRUST COMPANY




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